                                                                        Case 3:23-cv-03880-TLT Document 7-1 Filed 08/09/23 Page 1 of 139




                                                             1
                                                                  Scott J. Street (SBN 258962)
                                                                  JW HOWARD/ATTORNEYS, LTD.
                                                             2    201 South Lake Avenue, Suite 303
                                                             3    Pasadena, CA 91101
                                                                  Tel.: (213) 205-2800
                                                             4    Email: sstreet@jwhowardattorneys.com
                                                             5    John W. Howard (SBN 80200)
                                                                  Andrew G. Nagurney (SBN 301894)
                                                             6
                                                                  JW HOWARD/ATTORNEYS, LTD.
                                                             7    600 West Broadway, Suite 1400
                                                                  San Diego, CA 92101
                                                             8
                                                                  Tel.: (619) 234-2842
                                                             9    Email: johnh@jwhowardattorneys.com
                                                             10
                                                                  Attorneys for Plaintiff,
                                                             11   ROBERT F. KENNEDY, JR.
JW HOWARD/ ATTORNEYS, LTD.
                             600 WEST BROADWAY, SUITE 1400




                                                             12
                              SAN DIEGO, CALIFORNIA 92101




                                                             13                              UNITED STATES DISTRICT COURT
                                                             14                        NORTHERN DISTRICT OF CALIFORNIA
                                                             15

                                                             16   ROBERT F. KENNEDY, JR.,                     Case No. 5:23-cv-03880-NC
                                                             17                 Plaintiff,                    [Assigned to the Hon. Nathanael
                                                                                                              Cousins]
                                                             18           vs.
                                                             19   GOOGLE LLC, a Delaware                      DECLARATION OF SCOTT J.
                                                                  corporation, and YOUTUBE, LLC, a            STREET
                                                             20   Delaware corporation,
                                                             21                 Defendants.
                                                             22
                                                                  ///
                                                             23
                                                                  ///
                                                             24
                                                                  ///
                                                             25
                                                                  ///
                                                             26
                                                                  ///
                                                             27
                                                                  ///
                                                             28                                           1
                                                                    DECLARATION OF SCOTT J. STREET                                CASE NO. 5:23-cv-03880-NC
                                                                 Case 3:23-cv-03880-TLT Document 7-1 Filed 08/09/23 Page 2 of 139




                                                         1                          DECLARATION OF SCOTT J. STREET
                                                         2           I, Scott J. Street, declare as follows:
                                                         3           1.    I am an attorney duly licensed to practice before all courts in the state of
                                                         4   California and before this Court. I am a partner with the law firm JW
                                                         5   Howard/Attorneys, Ltd., counsel of record to Plaintiff Robert F. Kennedy, Jr., in this
                                                         6   matter. I have personal knowledge of the facts set forth in this declaration and could
                                                         7   testify competently to them if called to do so.
                                                         8           2.    I am submitting this declaration in support of Mr. Kennedy’s application
                                                         9   for an order temporarily restraining Defendants Google LLC and YouTube, LLC,
                                                        10   from enforcing their “medical misinformation” policies to remove videos of Mr.
                                                        11   Kennedy’s speech on matters of public concern from YouTube during the 2024
JW HOWARD/ ATTORNEYS, LTD.




                                                        12   presidential campaign. Mr. Kennedy also applies to the Court for an order to show
                        600 WEST BROADWAY, SUITE 1400
                         SAN DIEGO, CALIFORNIA 92101




                                                        13   cause regarding the issuance of a preliminary injunction for the same relief pending a
                                                        14   trial on the merits.
                                                        15           3.    Mr. Kennedy is seeking the Democratic Party’s nomination for president,
                                                        16   having declared his candidacy on April 19, 2023. Before announcing his campaign,
                                                        17   Mr. Kennedy took a strong stance against the Democratic National Committee’s effort
                                                        18   to strip New Hampshire of its “First in the Nation” primary. He accepted an invitation
                                                        19   to speak about that and other issues at Saint Anselm College’s New Hampshire
                                                        20   Institute of Politics (“NHIOP”) in March.
                                                        21           4.    Mr. Kennedy’s NHIOP speech, which I attended, was viewed as a
                                                        22   political speech and was attended by several prominent New Hampshire Democrats
                                                        23   including the chairman of New Hampshire’s Democratic Party. It lasted nearly two
                                                        24   hours and centered on Mr. Kennedy’s concerns about the corrupt merger of corporate
                                                        25   and state power, an issue he has fought about for years and which, in recent years,
                                                        26   caused him to question the increasing numbers of vaccines American children must
                                                        27   take.
                                                        28                                                2
                                                              DECLARATION OF SCOTT J. STREET                                     CASE NO. 5:23-cv-03880-NC
                                                                Case 3:23-cv-03880-TLT Document 7-1 Filed 08/09/23 Page 3 of 139




                                                         1         5.     Manchester Public Television posted a video of Mr. Kennedy’s speech
                                                         2   on YouTube. Google removed it. The station’s director said: “YouTube will not allow
                                                         3   us to post the video because of controversial vaccination content. MPTS has recorded
                                                         4   more than 100 wonderful NHIOP events, and I cannot recall this happening before.”
                                                         5   A true and correct copy of a news article that reported on the matter on March 6,
                                                         6   2023, is attached as Exhibit “A.”
                                                         7         6.     Mr. Kennedy complained about the action, particularly since his
                                                         8   comments about vaccine safety only consumed a portion of the NHIOP speech (in
                                                         9   other parts he spoke about his environmentalism and legal work fighting corporate
                                                        10   polluters, among other things). Google refused to change its position. It said it
                                                        11   “removed the [Kennedy speech] for violating our policies on COVID-19 vaccine
JW HOWARD/ ATTORNEYS, LTD.




                                                        12   misinformation …. While we do allow content with educational, documentary,
                        600 WEST BROADWAY, SUITE 1400
                         SAN DIEGO, CALIFORNIA 92101




                                                        13   scientific or artistic context, such as news reports, the content we removed from this
                                                        14   channel was raw footage and did not provide sufficient context.” A true and correct
                                                        15   copy of a news report from March 8, 2023, about this matter and which contains
                                                        16   Google’s statement is attached as Exhibit “B.”
                                                        17         7.     A true and correct copy of YouTube’s “Vaccine misinformation policy”
                                                        18   is attached as Exhibit “C.”
                                                        19         8.     A true and correct copy of YouTube’s “COVID-19 medical
                                                        20   misinformation policy” is attached as Exhibit “D.”
                                                        21         9.     For ease of reference, I refer to the policies reflected in Exhibits C and D
                                                        22   as the “medical misinformation policies.”
                                                        23         10.    During the past few election cycles, YouTube has played an especially
                                                        24   important role in the political process. Attached to this declaration as Exhibit “E” is a
                                                        25   true and correct copy of an article written by YouTube’s director of advertiser
                                                        26   marketing, Kate Stanford, in March 2016 titled “How Political Ads and Video
                                                        27   Content Influence Voter Opinion” which discussed that development.
                                                        28                                             3
                                                              DECLARATION OF SCOTT J. STREET                                    CASE NO. 5:23-cv-03880-NC
                                                                 Case 3:23-cv-03880-TLT Document 7-1 Filed 08/09/23 Page 4 of 139




                                                         1           11.   Mr. Kennedy has repeatedly asked Google to stop applying its
                                                         2   misinformation policies to censor him during the presidential campaign. It has
                                                         3   refused. That led to the filing of this case.
                                                         4           12.   A similar censorship case was filed in Louisiana by two state attorneys
                                                         5   general, Missouri et al. v. Biden et al., No. 3:22-cv-01213-TAD-KDM (the “State AG
                                                         6   Censorship Case”). On July 4, Judge Terry Doughty issued a lengthy decision that
                                                         7   enjoins federal government officials from coercing technology companies to censor
                                                         8   the government’s critics. The injunction does not bind the technology companies
                                                         9   themselves, though, and thus does not prohibit Google from continuing to censor Mr.
                                                        10   Kennedy based on the misinformation policies.
                                                        11           13.   The government appealed the decision in the State AG Censorship Case
JW HOWARD/ ATTORNEYS, LTD.




                                                        12   to the Fifth Circuit Court of Appeals. It will hear oral argument in the case this week.
                        600 WEST BROADWAY, SUITE 1400
                         SAN DIEGO, CALIFORNIA 92101




                                                        13           14.   I have reviewed much of the evidence that was produced during the State
                                                        14   AG Censorship Case, including documents that were produced and deposition
                                                        15   testimony that was taken in that case. The evidence sheds light on the partnership that
                                                        16   Google and Executive Branch officials developed to remove speech from people like
                                                        17   Mr. Kennedy who disagree with Executive Branch officials about COVID-19,
                                                        18   vaccines, and other matters of public concern.
                                                        19           15.   Attached to this declaration as Exhibit “F” is a true and correct copy of
                                                        20   an email sent by White House official Rob Flaherty to Google executives, among
                                                        21   other people, on April 22, 2021, which was produced in the State AG Censorship
                                                        22   Case.
                                                        23           16.   Attached to this declaration as Exhibit “G” is a true and correct copy of
                                                        24   sworn discovery responses provided by the Executive Branch officials in the State AG
                                                        25   Censorship Case, which were signed by Max Lesko, Chief of Staff in the Office of the
                                                        26   Surgeon General (“OSG”) on December 16, 2022.
                                                        27           17.   Attached to this declaration as Exhibit “H” is a true and correct copy of
                                                        28                                               4
                                                              DECLARATION OF SCOTT J. STREET                                   CASE NO. 5:23-cv-03880-NC
                                                                Case 3:23-cv-03880-TLT Document 7-1 Filed 08/09/23 Page 5 of 139




                                                         1   excerpts from the deposition of Eric Waldo, an OSG official, which was taken in the
                                                         2   State AG Censorship Case.
                                                         3         18.    Attached to this declaration as Exhibit “I” is a true and correct copy of
                                                         4   the document that was marked as Exhibit 8 to Waldo’s deposition transcript.
                                                         5         20.    Attached to this declaration as Exhibit “J” is a true and correct copy of
                                                         6   the document that was marked as Exhibit 31 to Waldo’s deposition transcript.
                                                         7         22.    Attached to this declaration as Exhibit “K” is a true and correct copy of
                                                         8   the document that was marked as Exhibit 47 to Waldo’s deposition transcript.
                                                         9         23.    Attached to this declaration as Exhibit “L” is a true and correct copy of
                                                        10   excerpts from the deposition of Carol Crawford, an official from the Centers for
                                                        11   Disease Control, which was taken in the State AG Censorship Case.
JW HOWARD/ ATTORNEYS, LTD.




                                                        12         24.    Attached to this declaration as Exhibit “M” is a true and correct copy of
                        600 WEST BROADWAY, SUITE 1400
                         SAN DIEGO, CALIFORNIA 92101




                                                        13   the document that was marked as Exhibit 40 to Crawford’s deposition transcript.
                                                        14         25.    Attached to this declaration as Exhibit “N” is a true and correct copy of
                                                        15   the document that was marked as Exhibit 43 to Crawford’s deposition transcript.
                                                        16         26.    Attached to this declaration as Exhibit “O” is a true and correct copy of
                                                        17   excerpts from the deposition of Elvis Chan, an agent of Federal Bureau of
                                                        18   Investigation, which was taken in the State AG Censorship Case.
                                                        19         27.    Attached to this declaration as Exhibit “P” is a true and correct copy of
                                                        20   an email exchange between Mr. Flaherty, the White House official, and Twitter
                                                        21   executives about Mr. Kennedy that occurred between January 22 and 23, 2021.
                                                        22         28.    To my knowledge, neither Google nor YouTube were subpoenaed in the
                                                        23   State AG Censorship Case. None of their executives were deposed. No White House
                                                        24   officials were deposed in the State AG Censorship Case either.
                                                        25         29.    Although we have already obtained evidence that, in my opinion, is
                                                        26   sufficient to satisfy the state action doctrine with respect to Google’s enforcement of
                                                        27   the medical misinformation policies, if given the chance we would seek additional
                                                        28                                             5
                                                              DECLARATION OF SCOTT J. STREET                                   CASE NO. 5:23-cv-03880-NC
                                                                Case 3:23-cv-03880-TLT Document 7-1 Filed 08/09/23 Page 6 of 139




                                                         1   discovery in this case and in connection with Mr. Kennedy’s request for issuance of a
                                                         2   preliminary injunction. The discovery would be targeted to Google and would include:
                                                         3   (a) Communications between Google/YouTube executives and Executive Branch
                                                         4   officials (especially White House, Surgeon General and CDC officials) about the new
                                                         5   COVID-19 misinformation policies adopted by Google during the summer of 2021;
                                                         6   (b) Communications between Google/YouTube executives and Executive Branch
                                                         7   officials about alleged misinformation spread by Mr. Kennedy; (c) Communications
                                                         8   between Google/ YouTube executives and Executive Branch officials about removing
                                                         9   any videos of Mr. Kennedy from YouTube; and (d) Communications between
                                                        10   Google/YouTube executives and Executive Branch officials about Mr. Kennedy’s
                                                        11   speech at the NHIOP and his interview with Jordan Peterson.
JW HOWARD/ ATTORNEYS, LTD.




                                                        12         30.     We would also seek discovery about the creation of YouTube’s original
                        600 WEST BROADWAY, SUITE 1400
                         SAN DIEGO, CALIFORNIA 92101




                                                        13   COVID-19 misinformation policy, which was first posted in May 2020. And we
                                                        14   would seek information about the partnership between Google and the White House
                                                        15   about suppressing speech about the COVID-19 vaccines specifically, including
                                                        16   documents regarding an April 21, 2021, meeting between Google executives and
                                                        17   White House officials that was described in Judge Doughty’s decision in the State AG
                                                        18   Censorship Case. I could not obtain a copy of those emails because they were filed
                                                        19   under seal.
                                                        20         31.     I believe this discovery could be completed within the next month.
                                                        21         32.     Mr. Kennedy’s presidential campaign has been gaining momentum,
                                                        22   having raised millions of dollars, and generated impressive poll numbers, despite his
                                                        23   being ignored by much of the mainstream media and disavowed by the Democratic
                                                        24   National Committee and most Democratic members of Congress (who tried to censor
                                                        25   his testimony at a Congressional hearing on censorship). The campaign is expected to
                                                        26   heat up after Labor Day. That is why Mr. Kennedy is seeking preliminary injunctive
                                                        27   relief now.
                                                        28                                             6
                                                              DECLARATION OF SCOTT J. STREET                                  CASE NO. 5:23-cv-03880-NC
                       Case 3:23-cv-03880-TLT Document 7-1 Filed 08/09/23 Page 7 of 139




               1         33.    Defendants' agent will be served with the summons and complaint this
               2   week. My office separately served the registered agent with the complaint last week.
               3   The case has also received significant attention in the press. Thus, I believe that
               4   Defendants are prepared to litigate the case and can do so on an expedited basis.
               5   Although Defendants have not yet appeared in the case, my office will personally
               6   serve Defendants' registered agent with copies of the application for a temporary
               7   restraining order and all supporting papers this week.
               8         34.    I understand that the Court usually hears law and motion matters on
               9   Wednesdays. I will be traveling during the week of August 28. I will also be attending
              10   an oral argument in the Ninth Circuit Court of Appeals on September 14. I could
ci            11   appear for argument on Mr. Kennedy's application for preliminary relief on August
f-
..Jo
c/2'0-
   ~o         12   23, September 6, or September 13, or any other Wednesday during September.
~~~
zs     ..
CE:(/) -
   .z
0 >-'"
              13         Under penalty of perjury, under the laws of the United States of America, I
 ~-
~<~
<<<   i:,-'
      oU      14   declare that the foregoing is true and correct. Executed this 9th day of August 2023, at
25 &s 8
CE: I- "'
-cr:::::lci
~~z
              15   Pasadena, Cali fomia.
o g~
:::c"'        16
...
~

              17
              18                                           Scott J.
              19

              20
              21
              22
              23
              24
              25
              26
              27
              28                                             7
                    DECLARATION OF SCOTT J. STREET                                    CASE NO. 5:23-cv-03880-NC
Case 3:23-cv-03880-TLT Document 7-1 Filed 08/09/23 Page 8 of 139




                      EXHIBIT A
8/7/23, 12:18 PM       Case 3:23-cv-03880-TLTRFK,Document      7-1 Banned
                                                  Jr's NHIOP Speech FiledFrom
                                                                           08/09/23      Page
                                                                              YouTube - NH      9 of 139
                                                                                           Journal




                                             UNSIDESOURCE~'"
                                                       NEWS
                                                          Politics
                                                       (https://nhjournal.com/category/politics/)

                                                       RFK, Jr’s NHIOP Speech Banned From YouTube
                                                       Posted to -Politics (https://nhjournal.com/category/politics/)
                                                                               - - - -                               . March
                                                       06, 2023 by Michael Graham
                                                       (https://nhjournal.com/author/michaelgraham/)
                                                       Jason Cote has a simple mission at Manchester Public TV. “Proudly bringing
                                                       MANCHESTER to your television: open government, free expression,
                                                       education, arts, activities,” as it says on the station’s website
      (https://www.manchestertv.org/).
      For Cote, the station’s executive director, achieving that goal often involves broadcasting political speeches from the
      New Hampshire Institute of Politics. For example, MPTS shared New Hampshire Journal’s GOP candidate debates
      with viewers last year.
      But when the station tried to post its video of Robert F. Kennedy, Jr’s NHIOP speech on its YouTube channel,
      something happened Cote had never experienced before.
      “YouTube will not allow us to post the video because of controversial vaccination content,” Cote told NHJournal.
      “MPTS has recorded more than 100 wonderful NHIOP events, and I cannot recall this happening before.
      “First time for everything, I guess,” he added.
      According to a message from YouTube sent to Cote, the media platform declared RFK, Jr.’s speech “medical
      misinformation” and would not allow it to be posted.
      “YouTube doesn’t allow content that poses a serious risk of egregious harm by spreading medical misinformation
      about currently administered vaccines that are approved and confirmed to be safe and effective by local health
      authorities and by the World Health Organization,” the YouTube message read.
      A spokesperson for YouTube responded to NHJournal’s requests with assurances a statement would be forthcoming,
      but it failed to respond by late Monday night.
      NHIOP Executive Director Neil Levesque was puzzled by YouTube’s decision.
      “This was a political and public policy speech that YouTube has censored.”
      RFK, Jr. is well known for advocating views often labeled “conspiracy theories,” including his suggestion that
      childhood diseases like autism are linked to vaccines. He also spread the debunked conspiracy
      (https://clevelandmagazine.com/in-the-cle/politics/articles/robert-f-kennedy-jr-nut-job)
          - - - - - - - - -·that the 2004 presidential
      election was stolen from John Kerry.
V     His views on vaccines have gotten him banned from social media in the past. In 2021, he was blocked from Instagram
      and Facebook over his conspiracy theories involving mRNA vaccines and Microsoft founder Bill Gates.
      “We removed this account for repeatedly sharing debunked claims about the coronavirus or vaccines,” a
      spokesperson for Facebook said at the time (https://www.npr.org/sections/coronavirus-live-
      updates/2021/02/11/966902737/instagram-bars-robert-f-kennedy-jr-for-spreading-vaccine-misinformation).
             CONTINUE>
      On Friday, RFK, Jr. mentioned being censored by Facebook, claiming it was the Biden White House that ordered his
      removal.




https://nhjournal.com/rfk-jrs-nhiop-speech-banned-from-youtube/                                                                     1/2
8/7/23, 12:18 PM      Case 3:23-cv-03880-TLTRFK,
                                              Document       7-1 Banned
                                                 Jr's NHIOP Speech FiledFrom
                                                                         08/09/23      Page
                                                                             YouTube - NH      10 of 139
                                                                                          Journal




      However unorthodox his views, RFK, Jr. was still welcomed by some of the biggest names in the New Hampshire
      Democratic Party, including state party chair Ray Buckley and Senate Minority Leader Donna Soucy (D-Manchester). If
      they could sit and hear what the possible 2024 presidential candidate had to say, why not voters across the state,
      Cote asked.
      “We only try to help the Manchester citizens be the most educated about all views and opinions that we can.”
      More from New Hampshire Journal




V




https://nhjournal.com/rfk-jrs-nhiop-speech-banned-from-youtube/                                                             2/2
Case 3:23-cv-03880-TLT Document 7-1 Filed 08/09/23 Page 11 of 139




                      EXHIBIT B
8/7/23, 12:20 PM      Case 3:23-cv-03880-TLT     Document
                                         RFK Jr. Suing          7-1BanFiled
                                                       Over YouTube    Of NH 08/09/23      PageNH12Patch
                                                                             IOP Speech | Bedford,   of 139




                                                                    Patel\                                        Sign up


   Bedford, NH                                                                                                 Subscribe

            News Feed                           Neighbor Posts                           Local Businesses      Events



   Politics & Government


   RFK Jr. Suing Over YouTube Ban Of NH IOP Speech
   Kennedy spoke of his environmental causes and belief that the expanded regime of
   childhood vaccines was contributing to autism.

          New Hampshire Journal, News Partner

   Posted Wed, Mar 8, 2023 at 8:41 pm ET

                                                                                                                  Reply




                                                                ADVERTISEMENT

https://patch.com/new-hampshire/bedford-nh/rfk-jr-suing-over-youtube-ban-nh-iop-speech                                       1/8
8/7/23, 12:20 PM      Case 3:23-cv-03880-TLT     Document
                                         RFK Jr. Suing          7-1BanFiled
                                                       Over YouTube    Of NH 08/09/23      PageNH13Patch
                                                                             IOP Speech | Bedford,   of 139




   An attorney for Robert F. Kennedy Jr. tells NHJournal the potential 2024 presidential candidate plans to sue
   YouTube over its decision to ban his recent speech at the prestigious New Hampshire Institute of Politics (NHIOP)
   from its video platform. (NH Journal)


   By Michael Graham, NH Journal




                                                                ADVERTISEMENT




                                                                ADVERTISEMENT

https://patch.com/new-hampshire/bedford-nh/rfk-jr-suing-over-youtube-ban-nh-iop-speech                                 2/8
8/7/23, 12:20 PM      Case 3:23-cv-03880-TLT     Document
                                         RFK Jr. Suing          7-1BanFiled
                                                       Over YouTube    Of NH 08/09/23      PageNH14Patch
                                                                             IOP Speech | Bedford,   of 139
   An attorney for Robert F. Kennedy Jr. tells NHJournal the potential 2024
   presidential candidate plans to sue YouTube over its decision to ban his recent
   speech at the prestigious New Hampshire Institute of Politics (NHIOP) from its
   video platform.

   “We will be filing suit,” said John Howard, a legal adviser to Kennedy.



                    Find out what's happening in Bedfordwith free, real-time updates from Patch.

          Your email address                                                                             Subscribe




   Kennedy spoke at the NHIOP last Friday, recounting his efforts on behalf of
   environmental causes and his suspicions regarding the expanded regime of
   childhood vaccines he suggests are linked to increased cases of autism in
   children.

   The Institute, based on the campus of St. Anselm College, is a must-stop
   destination for politicians considering a run for the White House. Asked by
   NHJournal if he had any plans to challenge President Joe Biden in the
   Democratic primary, Kennedy said “I’m thinking about it.”




                                                                ADVERTISEMENT




                                                                ADVERTISEMENT

https://patch.com/new-hampshire/bedford-nh/rfk-jr-suing-over-youtube-ban-nh-iop-speech                               3/8
8/7/23, 12:20 PM      Case 3:23-cv-03880-TLT     Document
                                         RFK Jr. Suing          7-1BanFiled
                                                       Over YouTube    Of NH 08/09/23      PageNH15Patch
                                                                             IOP Speech | Bedford,   of 139
   Manchester Public Television often broadcasts political speeches from the
   NHIOP venue to its viewers, as well as posts them on the station’s YouTube
   channel. The possibility of a Kennedy challenge to President Joe Biden is
   particularly newsworthy given the DNC’s decision to strip New Hampshire of its
   First in the Nation primary status.

   But when MPTS executive director Jason Cote attempted to post RFK’s remarks,
   he received a message that the content was being blocked.




                                                                ADVERTISEMENT




   “YouTube will not allow us to post the video because of controversial
   vaccination content,” Cote told NHJournal. “MPTS has recorded more than 100
   wonderful NHIOP events, and I cannot recall this happening before.

   “First time for everything, I guess,” he added.



   On Wednesday, a spokesperson for YouTube confirmed to NHJournal the speech
   was banned from the platform.

   “We removed the content for violating our policies on COVID-19 vaccine
   misinformation. Our policies are enforced for everyone, regardless of the
   speaker’s political views,” the spokesperson said in a statement. “While we do
   allow content with educational, documentary, scientific or artistic context,
                                                                ADVERTISEMENT

https://patch.com/new-hampshire/bedford-nh/rfk-jr-suing-over-youtube-ban-nh-iop-speech                        4/8
8/7/23, 12:20 PM      Case 3:23-cv-03880-TLT     Document
                                         RFK Jr. Suing          7-1BanFiled
                                                       Over YouTube    Of NH 08/09/23      PageNH16Patch
                                                                             IOP Speech | Bedford,   of 139
   such as news reports, the content we removed from this channel was raw
   footage and did not provide sufficient context.”

   Kennedy’s attorney said they are taking the matter to court.

   “Justice Anthony Kennedy said the right to think is the beginning of freedom,
   and speech must be protected from the government because speech is the
   beginning of thought,” said Howard. “We should keep those principles in mind.
   YouTube may not be the government, but its actions have all the signs of
   government censorship. The people of New Hampshire—all Americans, really
   —deserve to hear from people who seek their vote.”

   Alphabet, the parent company of YouTube and Google, is already under scrutiny
   from Congress over its uneven — some say politically biased — application of
   content restrictions on its platforms. Alphabet CEO Sundar Pichai has been
   subpoenaed by the House Judiciary Committee to answer accusations regarding
   “the federal government’s reported collusion with Big Tech to suppress free
   speech.”
                                                                ADVERTISEMENT


   While Kennedy is viewed as a longshot presidential candidate, he garnered
   praise from Granite State Democrats for intervening on behalf of the state’s
   FITN primary. On the eve of the Democratic National Committee’s vote to strip
   New Hampshire of its place at the front of the 2024 line, Kennedy published an
   open letter to the DNC urging it “not to interfere in New Hampshire’s plan to
   hold the nation’s first primary.

   “My Uncle Jack spoke to voters in Dover on the eve of the 1960 New Hampshire
   primary. He said that ‘We Democrats realize that the days when presidential
   candidates can be nominated in smoke-filled rooms, by political leaders and
   party bosses, have forever passed from the scene.’ He said ‘that no man has

                                                                ADVERTISEMENT

https://patch.com/new-hampshire/bedford-nh/rfk-jr-suing-over-youtube-ban-nh-iop-speech                        5/8
8/7/23, 12:20 PM      Case 3:23-cv-03880-TLT     Document
                                         RFK Jr. Suing          7-1BanFiled
                                                       Over YouTube    Of NH 08/09/23      PageNH17Patch
                                                                             IOP Speech | Bedford,   of 139
   won a national election who was unwilling to test his candidacy with the
   people.’

   “I echo those thoughts,” Kennedy wrote.

   Some of New Hampshire’s top Democrats turned out for his NHIOP speech,
   including state party chairman Ray Buckley and state Senate minority leader
   Donna Soucy (D-Manchester).

   Best-selling author Marianne Williamson has announced her candidacy in the
   2024 Democratic presidential primary. She is scheduled to make campaign
   appearances across the Granite State between March 8 -13.
                                                                ADVERTISEMENT


   Polls consistently show a majority of Granite State Democrats would prefer to
   back someone other than Biden as their party’s nominee. And while no
   prominent local Democrats have endorsed Kennedy or Williamson, some have
   expressed dissatisfaction with Biden.

   Asked if he wants Biden to run again, former N.H. Speaker of the House Steve
   Shurtleff (D-Penacook) told the AP, “In my heart of hearts, no. I think a lot of
   people just don’t want to say it.”



   This story was originally published by the NH Journal, an online news
   publication dedicated to providing fair, unbiased reporting on, and analysis of,
   political news of interest to New Hampshire. For more stories from the NH
   Journal, visit NHJournal.com.


     Thank         Reply        Share                                                                      



   More from Bedford
                                                                ADVERTISEMENT

https://patch.com/new-hampshire/bedford-nh/rfk-jr-suing-over-youtube-ban-nh-iop-speech                            6/8
8/7/23, 12:20 PM      Case 3:23-cv-03880-TLT     Document
                                         RFK Jr. Suing          7-1BanFiled
                                                       Over YouTube    Of NH 08/09/23      PageNH18Patch
                                                                             IOP Speech | Bedford,   of 139

   Community Corner | 3h
   🌱 Fecal Bacteria Alert: NH Beaches + Hike The New Hollow Fairy Trail

   Arts & Entertainment | 1d
   Events: Bedford Garden Club's Mum Sale; Corn Hole; Zero Waste Store


   Community Corner | 14h
   🌱 Kayla Stoll 18 Under 18 Award + Senator Ricciardi Budget Wins




                                                                ADVERTISEMENT




   Latest News Nearby

   1.  Concord, NH News
       Fatal Car Crash; Teen Dies In Boating Accident; More: PM Patch NH

   2.  Bedford, NH News
       🌱 Fecal Bacteria Alert: NH Beaches + Hike The New Hollow Fairy Trail
   3.  Across America, US News
       Help Patch Recognize Outstanding Community Leaders Across The Country

   4.  Concord, NH News
       New York Teen Dies In Crescent Lake Boating Crash: NH State Police

   5.  Bedford, NH News
                                              ADVERTISEMENT
       Adam Montgomery To Find Out How Many Decades He Will Serve In Prison

https://patch.com/new-hampshire/bedford-nh/rfk-jr-suing-over-youtube-ban-nh-iop-speech                        7/8
8/7/23, 12:20 PM      Case 3:23-cv-03880-TLT     Document
                                         RFK Jr. Suing          7-1BanFiled
                                                       Over YouTube    Of NH 08/09/23      PageNH19Patch
                                                                             IOP Speech | Bedford,   of 139




                                                Find out what’s happening in your
                                                  community on the Patch app




   Corporate Info
   About Patch
   Careers


   Partnerships
   Advertise on Patch


   Support
   FAQs
   Contact Patch
   Community Guidelines
   Posting Instructions



                                                  
                                                   
                                                     
                                                       
                                                         
                                                          

                                                         Terms of Use        Privacy Policy

                                                 © 2023 Patch Media. All Rights Reserved.

                                                    Do Not Sell My Personal Information




                                                                ADVERTISEMENT

https://patch.com/new-hampshire/bedford-nh/rfk-jr-suing-over-youtube-ban-nh-iop-speech                        8/8
Case 3:23-cv-03880-TLT Document 7-1 Filed 08/09/23 Page 20 of 139




                      EXHIBIT C
6/20/23, 11:01 AM     Case 3:23-cv-03880-TLT Document    7-1 Filedpolicy
                                                Vaccine misinformation 08/09/23     Page 21 of 139
                                                                         - YouTube Help




      Vaccine misinformation policy
               Vaccine
               V ccin Misinformation
                       Mi nform ion Policy: YouTu,_
                                            YouTu…




                             a
      YouTube doesn’t allow content that poses a serious risk of egregious harm by spreading medical
      misinformation about currently administered vaccines that are approved and confirmed to be safe and
      effective by local health authorities and by the World Health Organization (WHO). This is limited to
      content that contradicts local health authorities’ or the WHO’s guidance on vaccine safety, efficacy,
      and ingredients.


      What this policy means for you

      If you're posting content
      Don’t post content on YouTube if it includes harmful misinformation about currently approved and
      administered vaccines on any of the following:

      • Vaccine safety: content alleging that vaccines cause chronic side effects, outside of rare side
        effects that are recognized by health authorities

      • Efficacy of vaccines: content claiming that vaccines do not reduce transmission or contraction of
        disease

      • Ingredients in vaccines: content misrepresenting the substances contained in vaccines

      This policy applies to videos, video descriptions, comments, live streams, and any other YouTube
      product or feature. Keep in mind that this isn't a complete list. Please note these policies also apply to
      external links in your content. This can include clickable URLs, verbally directing users to other sites in
      video, as well as other forms.


      Examples
      Here are some examples of content that’s not allowed on YouTube:

      • Claims that vaccines cause chronic side effects such as:
         • Cancer
         • Diabetes
         • Other chronic side effects
      • Claims that vaccines do not reduce risk of contracting illness
      • Claims that vaccines contain substances that are not on the vaccine ingredient list, such as
        biological matter from fetuses (e.g. fetal tissue, fetal cell lines) or animal byproducts
      • Claims that vaccines contain substances or devices meant to track or identify those who’ve
        received them
      • Claims that vaccines alter a person’s genetic makeup
      • Claims that the MMR vaccine causes autism
      • Claims that vaccines are part of a depopulation agenda
https://support.google.com/youtube/answer/11161123?hl=en&ref_topic=10833358&sjid=9626164814483180343-NA             1/3
6/20/23, 11:01 AM   Case 3:23-cv-03880-TLT Document    7-1 Filedpolicy
                                              Vaccine misinformation 08/09/23     Page 22 of 139
                                                                       - YouTube Help

      • Claims that the flu vaccine causes chronic side effects such as infertility
      • Claims that the HPV vaccine causes chronic side effects such as paralysis


      Educational, scientific, artistic, or testimonial content
      YouTube may allow content that violates the misinformation policies noted on this page if that content
      includes additional context in the video, audio, title, or description. This is not a pass to promote
      misinformation. Additional context may include countervailing views from local health authorities or
      medical experts. We may also make exceptions if the purpose of the content is to condemn, dispute,
      or satirize misinformation that violates our policies. We may also make exceptions for content showing
      an open public forum, like a protest or public hearing, provided the content does not aim to promote
      misinformation that violates our policies.


      YouTube also believes people should be able to share their own experiences, including personal
      experiences with vaccinations. This means we may make exceptions for content in which creators
      describe firsthand experiences from themselves or their family. At the same time, we recognize there
      is a difference between sharing personal experiences and promoting misinformation about vaccines.
      To address this balance, we will still remove content or channels if they include other policy violations
      or demonstrate a pattern of promoting vaccine misinformation.


      What happens if content violates this policy
      If your content violates this policy, we’ll remove the content and send you an email to let you know. If
      we can’t verify that a link you post is safe, we may remove the link.

      If this is your first time violating our Community Guidelines, you’ll likely get a warning with no penalty
      to your channel. If it’s not, we may issue a strike against your channel. If you get 3 strikes within 90
      days, your channel will be terminated. You can learn more about our strikes system here.

      We may terminate your channel or account for repeated violations of the Community Guidelines or
      Terms of Service. We may also terminate your channel or account after a single case of severe abuse,
      or when the channel is dedicated to a policy violation. You can learn more about channel or account
      terminations here.


      Additional resources
      More information on vaccines, including their safety and efficacy, can be found below.

      Health Authority Vaccine Information:

      • Centers for Disease Control and Prevention (CDC)          (US)
      • European Vaccination Information Portal       (EU)
      • National Health Service      (UK)
      • World Health Organization vaccine safety       (Global)
      • World Health Organization vaccine preventable diseases           (Global)

      Additional Vaccine Information:

      • American Academy of Pediatrics        (US)
      • GAVI, the Vaccine Alliance     (Global)
      • UNICEF      (Global)




https://support.google.com/youtube/answer/11161123?hl=en&ref_topic=10833358&sjid=9626164814483180343-NA            2/3
6/20/23, 11:01 AM    Case 3:23-cv-03880-TLT Document    7-1 Filedpolicy
                                               Vaccine misinformation 08/09/23     Page 23 of 139
                                                                        - YouTube Help


                                                 Need more help?
                                                 Try these next steps:



          Post to the help community
          Get answers from community members




https://support.google.com/youtube/answer/11161123?hl=en&ref_topic=10833358&sjid=9626164814483180343-NA   3/3
Case 3:23-cv-03880-TLT Document 7-1 Filed 08/09/23 Page 24 of 139




                      EXHIBIT D
6/20/23, 11:01 AM    Case 3:23-cv-03880-TLT Document     7-1misinformation
                                            COVID-19 medical    Filed 08/09/23          Page
                                                                           policy - YouTube Help 25 of 139




      COVID-19 medical misinformation policy
              The safety of our creators, viewers, and partners is our highest priority. We look to each of you to help us
              protect this unique and vibrant community. It’s important you understand our Community Guidelines, and
              the role they play in our shared responsibility to keep YouTube safe. Take the time to carefully read the
              policy below. You can also check out this page for a full list of our guidelines.


      YouTube doesn't allow content about COVID-19 that poses a serious risk of egregious harm.

      YouTube doesn't allow content that spreads medical misinformation that contradicts local health
      authorities’ (LHA) or the World Health Organization’s (WHO) medical information about COVID-19. This
      is limited to content that contradicts WHO or local health authorities’ guidance on:

      • Treatment
      • Prevention
      • Diagnosis
      • Transmission
      • The existence of COVID-19

      Note: YouTube’s policies on COVID-19 are subject to change in response to changes to global or local
      health authorities’ guidance on the virus. There may be a delay between new LHA/WHO guidance and
      policy updates given the frequency with which this guidance changes, and our policies may not cover
      all LHA/WHO guidance related to COVID-19.

      Our COVID-19 policies were first published on May 20, 2020.


      What this policy means for you

      If you're posting content
      Don’t post content on YouTube if it includes any of the following:

      Treatment misinformation:

      • Content that encourages the use of home remedies, prayer, or rituals in place of medical treatment
        such as consulting a doctor or going to the hospital
      • Content that claims that there’s a guaranteed cure for COVID-19
      • Content that recommends use of Ivermectin or Hydroxychloroquine for the treatment of COVID-19
      • Claims that Hydroxychloroquine is an effective treatment for COVID-19
      • Categorical claims that Ivermectin is an effective treatment for COVID-19
      • Claims that Ivermectin and Hydroxychloroquine are safe to use in the prevention of COVID-19
      • Other content that discourages people from consulting a medical professional or seeking medical
        advice

      Prevention misinformation: Content that promotes prevention methods that contradict local health
      authorities or WHO.

      • Claims that there is a guaranteed prevention method for COVID-19
         • Claims that any medication or vaccination is a guaranteed prevention method for COVID-19
      • Content that recommends use of Ivermectin or Hydroxychloroquine for the prevention of COVID-19
      • Claims that Ivermectin and Hydroxychloroquine are safe to use in the prevention of COVID-19
      • Claims about COVID-19 vaccinations that contradict expert consensus from local health authorities
        or WHO



https://support.google.com/youtube/answer/9891785?hl=en&ref_topic=10833358&sjid=9626164814483180343-NA                       1/4
6/20/23, 11:01 AM    Case 3:23-cv-03880-TLT Document     7-1misinformation
                                            COVID-19 medical    Filed 08/09/23          Page
                                                                           policy - YouTube Help 26 of 139

         • Claims that an approved COVID-19 vaccine will cause death, infertility, miscarriage, autism, or
           contraction of other infectious diseases
         • Claims that an approved COVID-19 vaccine will contain substances that are not on the vaccine
           ingredient list, such as biological matter from fetuses (e.g. fetal tissue, fetal cell lines) or animal
           products
         • Claims that an approved COVID-19 vaccine will contain substances or devices meant to track or
           identify those who’ve received it
         • Claims that COVID-19 vaccines will make people who receive them magnetic
         • Claims that an approved COVID-19 vaccine will alter a person’s genetic makeup
         • Claims that COVID-19 vaccines do not reduce risk of serious illness or death
         • Claims that any vaccine causes contraction of COVID-19
         • Claims that a specific population will be required (by any entity except for a government) to take
           part in vaccine trials or receive the vaccine first
         • Content that promotes the use of unapproved or homemade COVID-19 vaccines
         • Instructions to counterfeit vaccine certificates, or offers of sale for such documents

      Diagnostic misinformation: Content that promotes diagnostic information that contradicts local
      health authorities or WHO.

      • Claims that approved COVID-19 tests are dangerous or cause negative physical health effects
      • Claims that approved COVID-19 tests cannot diagnose COVID-19

      Transmission misinformation: Content that promotes transmission information that contradicts local
      health authorities or WHO.

      • Content that claims that COVID-19 is not caused by a viral infection
      • Content that claims COVID-19 is not contagious
      • Content that claims that COVID-19 cannot spread in certain climates or geographies
      • Content that claims that any group or individual has immunity to the virus or cannot transmit the
        virus

      Content that denies the existence of COVID-19:

      • Denial that COVID-19 exists
      • Claims that people have not died or gotten sick from COVID-19
      • Claims that the death rate of COVID-19 is equal to or less than that of the common cold or seasonal
        flu
      • Claims that COVID-19 is equal to or less transmissible than the common cold or seasonal flu
      • Claims that the symptoms of COVID-19 are never severe

      This policy applies to videos, video descriptions, comments, live streams, and any other YouTube
      product or feature. Keep in mind that this isn't a complete list. Please note these policies also apply to
      external links in your content. This can include clickable URLs, verbally directing users to other sites in
      video, as well as other forms.


      Examples
      Here are some examples of content that’s not allowed on YouTube:

      • Denial that COVID-19 exists
      • Claims that people have not died from COVID-19
      • Claims that any vaccine is a guaranteed prevention method for COVID-19
      • Claims that a specific treatment or medicine is a guaranteed cure for COVID-19
      • Claims that hydroxychloroquine saves people from COVID-19
      • Promotion of MMS (Miracle Mineral Solution) for the treatment of COVID-19

https://support.google.com/youtube/answer/9891785?hl=en&ref_topic=10833358&sjid=9626164814483180343-NA               2/4
6/20/23, 11:01 AM    Case 3:23-cv-03880-TLT Document     7-1misinformation
                                            COVID-19 medical    Filed 08/09/23          Page
                                                                           policy - YouTube Help 27 of 139

      • Claims that certain people have immunity to COVID-19 due to their race or nationality
      • Encouraging taking home remedies instead of getting medical treatment when sick
      • Discouraging people from consulting a medical professional if they’re sick
      • Content that claims that holding your breath can be used as a diagnostic test for COVID-19
      • Videos alleging that if you avoid Asian food, you won’t get the coronavirus
      • Videos alleging that setting off fireworks can clean the air of the virus and will prevent the spread of
        the virus
      • Claims that COVID-19 is caused by radiation from 5G networks
      • Videos alleging that the COVID-19 test is the cause of the virus
      • Claims that countries with hot climates will not experience the spread of the virus
      • Claims that COVID-19 vaccines kill people who receive them
      • Claims that COVID-19 vaccines are a means of population reduction
      • Videos claiming that COVID-19 vaccines contain fetal tissue
      • Claims that the flu vaccine causes contraction of COVID-19
      • Claims that the flu is more contagious than COVID-19
      • Claims that COVID-19 vaccines cause contraction of other infectious diseases or makes people
        more vulnerable to contraction of other infectious diseases
      • Claims that COVID-19 vaccines contain a microchip or tracking device
      • Claims that achieving herd immunity through natural infection is safer than vaccinating the
        population
      • Claims that COVID-19 never causes serious symptoms or hospitalization
      • Claims that the death rate from the seasonal flu is higher than the death rate of COVID-19
      • Claims that people are immune to the virus based on their race
      • Claims that children cannot or do not contract COVID-19
      • Claims that there have not been cases or deaths in countries where cases or deaths have been
        confirmed by local health authorities or the WHO


      Educational, documentary, scientific or artistic content
      We may allow content that violates the misinformation policies noted on this page if that content
      includes additional context in the video, audio, title, or description. This is not a pass to promote
      misinformation. Additional context may include countervailing views from local health authorities or
      medical experts. We may also make exceptions if the purpose of the content is to condemn, dispute,
      or satirize misinformation that violates our policies. We may also make exceptions for content showing
      an open public forum, like a protest or public hearing, provided the content does not aim to promote
      misinformation that violates our policies.


      What happens if content violates this policy
      If your content violates this policy, we’ll remove the content and send you an email to let you know. If
      we can’t verify that a link you post is safe, we may remove the link.

      If this is your first time violating our Community Guidelines, you’ll likely get a warning with no penalty
      to your channel. If it’s not, we may issue a strike against your channel. If you get 3 strikes within 90
      days, your channel will be terminated. You can learn more about our strikes system here.

      We may terminate your channel or account for repeated violations of the Community Guidelines or
      Terms of Service. We may also terminate your channel or account after a single case of severe abuse,
      or when the channel is dedicated to a policy violation. You can learn more about channel or account
      terminations here.




https://support.google.com/youtube/answer/9891785?hl=en&ref_topic=10833358&sjid=9626164814483180343-NA             3/4
6/20/23, 11:01 AM    Case 3:23-cv-03880-TLT Document     7-1misinformation
                                            COVID-19 medical    Filed 08/09/23          Page
                                                                           policy - YouTube Help 28 of 139


                                                Need more help?
                                                 Try these next steps:



          Post to the help community
          Get answers from community members




https://support.google.com/youtube/answer/9891785?hl=en&ref_topic=10833358&sjid=9626164814483180343-NA       4/4
Case 3:23-cv-03880-TLT Document 7-1 Filed 08/09/23 Page 29 of 139




                      EXHIBIT E
             Case 3:23-cv-03880-TLT Document 7-1 Filed 08/09/23 Page 30 of 139




How Political Ads and
Video Content Influence
Voter Opinion

Written by                   There are so many major moments that lead up
Kate Stanford
                             to Election Day: debates, caucuses, primaries. But
Published                    the moments that matter most won’t make major
March 2016
                             headlines. They’ll happen quietly and quickly in
Topics                       micro-moments, when undecided voters become
Video, Government &
Education, Advertising       decided voters, often by going online.




                             think with Google·
Case 3:23-cv-03880-TLT Document 7-1 Filed 08/09/23 Page 31 of 139




        V
               oter decisions used to be made in living rooms, in front of
               televisions. Today, they're increasingly made in micro-moments,
               on mobile devices. Election micro-moments happen when voters
        turn to a device to learn about a candidate, event, or issue.

        Today's voters want a quick way to catch up on the latest elections buzz
        and they've found it in online video. Since April 2015, people have watched
        more than 110 million hours of candidate- and issues-related content
        on YouTube. That's 100X the amount of time it would take to watch all
        content ever aired on CNN, C-Span, MSNBC, and Fox News combined.1
        Whether voters are looking for a debate sound bite, instructions on how to
        vote, or Stephen Colbert's latest burn, they turn to YouTube.

        Since April 2015, people have watched more
        than 110 million hours of candidate- and
        issues-related content on YouTube. That's 100X
        the amount of time it would take to watch all
        content ever aired on CNN, C-Span, MSNBC,
        and Fox News combined.
        In fact, searches for election-related content on YouTube have grown
        by nearly 4X since presidential candidates started making their
        announcements last April.2 And voters of all ages—not just young
        people—turn to YouTube in their I-want-to-know moments. While 59% of
        people who turn to online video to learn more about the candidates are
        under the age of 35, one in four are over the age of 45.3

        So, how can candidates win these micro-moments to win in November?
        As the season heats up, here are three ways all candidates—whether
        they're running for a local seat, Congress, or the presidency—can meet
        voters in their micro-moments:




                                                                             thinkwithgoogle.com   2
           Case 3:23-cv-03880-TLT Document 7-1 Filed 08/09/23 Page 32 of 139




                          1. Be there: What online video trends reveal about voter
                          micro-moments
                          Being there for voters in critical micro-moments means knowing what
                          they're looking for. To get a map of voter wants and needs when it comes
                          to video, we use Google Trends and filter by YouTube.

                          Here's a look at the trending topics since the presidential candidates
                          launched their campaigns in April 2015 and how much search volume
                          has grown on those topics.



                             Top Video Search Trends for Political Issues
Source: Google data,
U.S., YouTube search
                             Political Issue                  Increase in searches since April 2015
interest in top issues,
April 2015–February
                2016.        Iii    Refugee s                 +224%

                              II Immigration                  +51 %

                             ~      Gun Control               +27%
                              s.,...,. Economy                +22%

                              D Health Care                   +10%



                          As you look at what voters want, ask yourself: Do I have the video
                          content to answer their queries? Are my videos showing up for voters
                          experiencing micro-moments on YouTube?

                          In Nevada, Hillary Clinton's campaign answered "yes" to both of those
                          questions. First, her campaign created a moving video ad about the
                          second issue on the list above: immigration. Then, the campaign used
                          standard targeting features to try to reach voters who might be interested
                          in the issue:




                                                                                                      thinkwithgoogle.com   3
Case 3:23-cv-03880-TLT Document 7-1 Filed 08/09/23 Page 33 of 139




        Thanks to the TrueView "skip" button, campaigns can get immediate
        feedback: Did viewers skip the ad, or choose to watch it? Based on that
        feedback, campaigns are able to adjust TrueView ads midflight. As
        The Wall Street Journal noted recently from the perspective of the Ted
        Cruz campaign, TrueView ads "offer the closest parallel to the power
        to persuade voters offered by classic TV ads, but allow for much better
        targeting."



        2. Be useful and quick: How candidates' video content
        helps when micro-moments happen
        Timing is everything when it comes to micro-moments. Voters don't just
        want the right content—they want it right now. While micro-moments can
        happen at any time, we see spikes in interest around key decision-making
        moments. Take the Iowa caucuses, for example, when voters went to
        YouTube to get informed: Watch Time Trends for Videos Related to the
        Iowa Caucuses




                                                                         thinkwithgoogle.com   4
                                    Case 3:23-cv-03880-TLT Document 7-1 Filed 08/09/23 Page 34 of 139




Watch Time Trends for Videos
Related to the Iowa Caucuses




e       Video Watch Tim e




Source: Google data, U.S., classification as a
candidate-related "Iowa caucuses" video was                1/15/16              1/20/16              1/25/ 16            1 /30/16          2/5/16
based on public data such as headlines, tags, etc.,
and may not account for every such video available
on YouTube, January 15- Februa ry 7, 2016.




                                                      The chart above shows watch time before, during, and after the Iowa
                                                      caucuses. The first major spike was driven by people coming to YouTube
                                                      to catch up on video of recent debates and town halls. The second was
                                                      driven by people watching Donald Trump's caucus speech. Both are
                                                      micro-moments experienced by voters en masse.

                                                      But it's not just political events, like debates and caucuses, that are
                                                      shaping election watch time trends. Timely, cultural conversations
                                                      spark voter micro-moments, too. For example, the week after same-
                                                      sex marriage was legalized, watch time for related videos grew by 23X
                                                      compared to the average of the three weeks prior: Watch Time Trends for
                                                      Videos Related to Same-Sex Marriage




                                                                                                                           thinkwithgoogle.com      5
                                    Case 3:23-cv-03880-TLT Document 7-1 Filed 08/09/23 Page 35 of 139




Watch Time Trends for Videos
Related to Same-Sex Marriage




                                                                Same-sex marriage legalized
                                                                                    Jun.26




e       Video Watch Tim e




Source: Google data, U.S., classification as a
candidate and issues-related "same-sex                6/16/15                                       7 / 1 /15                          7/1 1/ 1 5
marriage" video was based on public data
such as headlines, tags, etc., and may not
account for every such video available on
YouTube, June 2015- July 2015.




                                                 Some candidates are getting out in front of these micro-moments with
                                                 event- or issue-related content, combined with more targeted ads. In
                                                 an effort to get out the vote, Donald Trump's "Find Your Iowa Caucus
                                                 Location" video and Bernie Sanders' "How to Caucus in Iowa" explained to
                                                 Iowans how to register and caucus:




                                                                                                                 thinkwithgoogle.com         6
Case 3:23-cv-03880-TLT Document 7-1 Filed 08/09/23 Page 36 of 139




                    FIND YOUR CAUCUS LOCATION  *
        H TT P ://CA U C U S F O RT R U M P. CO M




                               ow to
                     ~ ,d ucus
        The Trump and Sanders campaigns knew voters would head to YouTube
        to ask "how to caucus" ahead of Iowa, and they were ready with two
        simple videos that offered step-by-step instructions. Talk about a
        decision-making moment: These videos could have meant the difference
        between showing up for your candidate on caucus day or staying home.




                                                                         thinkwithgoogle.com   7
Case 3:23-cv-03880-TLT Document 7-1 Filed 08/09/23 Page 37 of 139




        3. Be Influential: Who influences voter opinion in micro-
        moments
        We've talked about understanding what voters are looking for in election
        micro-moments and when those moments occur most. But who carries
        the most sway in these moments? More than half of daily YouTube users
        ages 18–49 say their personal opinions (including politics) have been
        influenced by YouTube creators.4

        Savvy politicians have taken advantage of YouTube creators' influence,
        taking interviews with them or partnering on videos to share in the
        dialogue. Six YouTube creators interviewed President Obama after his last
        two State of the Union addresses. And this election season, politicians
        are acting more like creators themselves. For example, Marco Rubio
        published several videos that are more in the style of creator Casey
        Neistat's "Ask Me Anything" videos than typical campaign TV ads:




         Creators are, ultimately, master listeners. The most influential creators
        on YouTube listen for audience questions and create content that
        answers them. The most influential politicians on YouTube do, too.




                                                                           thinkwithgoogle.com   8
Case 3:23-cv-03880-TLT Document 7-1 Filed 08/09/23 Page 38 of 139




        At a time when politicians and pundits are asking, "Do Political TV Ads
        Still Work?," YouTube trends show that online video is now table stakes
        for political campaigns. In our connected world, video works hardest
        when it answers a need or want that voters experience in election micro-
        moments.

        These micro-moments might occur before, during, or after a debate or
        in reaction to a cultural event. They might happen when voters need a
        question answered fast, like "how to caucus in Iowa." Politicians can
        have extra influence in micro-moments by working alongside creators or
        taking a page out of their playbooks, as Marco Rubio did.

        Micro-moments are shaping the electorate in 2016. I, for one, can't wait
        to find out which candidate won the most micro-moments—who met the
        most voters in their decision-making moments on YouTube. We'll find out
        on November 8.

        Dive into the data to learn more about voter micro-moments with The
        Presidential Elections on YouTube - Trends Report 2016.




        Sources
        1G
          oogle data, U.S., classification as election "candidates" and "issues" was based on public
         data such as headlines and tags, and may not account for every such video available on
         YouTube. Content broadcast by CNN, C-SPAN, Fox News, and MSNBC was estimated by
         adding the number of days since their first broadcast. April 2015–February 2016.

        2 Google data, U.S., YouTube search interest related to election candidates and issues, April
           2015–February 2016.

        3G
          oogle/Ipsos Connect, Google Elections Omnibus, U.S. adults 18+, n=2,022, January 2016.

        4 Google/Ipsos Connect, "The YouTube Generation" study", U.S., 18–49 year-olds, n=1,125,
           November 2015




                                                                                              thinkwithgoogle.com   9
Case 3:23-cv-03880-TLT Document 7-1 Filed 08/09/23 Page 39 of 139




                      EXHIBIT F
                                                      CONFIDENTIAL
        Case 3:22-cv-01213-TAD-KDM
               Case 3:23-cv-03880-TLTDocument 174-1
                                       Document  7-1 Filed
                                                     Filed01/11/23
                                                           08/09/23 Page
                                                                     Page39
                                                                          40ofof70139
                                                                                   PageID #:
                                              9303


From:

Sent:
To:                                                                       google.com];
                                                                           googl e.com;                  google.com;.

CC:            Slavitt,Andrew M. EOP/WHO                         who.eop .gov]; H ~ W H O
                                   who.eop.gov]; Fitzpatrick, Kelsey V. EOP/WHO lllllllllllllllwho.eop.gov]
Subject :      Fol lowing Up on Today's Conversation



All-Thanks again for the conve rsation today.

We' 111 ook out for the top t rends that you've seen in terms of mi si nformati on around the vaccine.

To recap: As we move away from a supply problem toward a demand problem, we remain concerned thatYoutube is
"funne li ng" people into hesitance and intensifying people's hesitancy. We certainly recognize that removing content
that is unfavorable to the cause of increasingvacci ne adoption is not a real istic-or even good- solution. But we want
to be sure that you have a hand le on vaccine hesitancy generally and are working toward making the problem better.
This is a concern that is shared at t he highest(and I mean highest) levels of the WH, so we'd liketoconti nue a good-faith
dialogue about what isgoingon underthe hood here . I'm the on the hook for reporting out.

Just before we we re meeting, t his article from Buzzfeed popped, high I ighti ngthe Youtu be misinformation that is
sp reading through the Vietnamese community. I think this brings up a question that I had in our first meeti ngaboutyour
capabilities around misinformation i n non-english-speakingcommunities. Clearly, more work to be done here. Would
love to get some insights from you on how you are tack I ingthis problem across al I languages -how yourenforcement
has differed in languagesandwhatyourroad map to im provement is.

A couple of otherth i ngs it wou ld be good to have from you al l:
•        As ment ioned up top, t he top trends that you' re seeing in terms of misi nformation/hesitance inducing content
(Stanford has mentioned t hat it's recently Vaccine Passports and J&J pause-related stuff, but I' m not sure if that reflects
what you're seei ng)
•        A deeper dive on reduction and its effectiveness. It's he lpful that you mentioned that watch time is your key
metric. I believe you said you reduced watch time by 70% on "borderline" content, wh ich is impressive. Obviously, the
term "borderl i ne" is moveab le, but taking it for what it is: How does that track with vaccine-related content specifically
(removingthe "UFO stuff"). What has the comparative reduction i n watch ti me on "borderline"vaccine top ics been
after your interventions? And what has the increase in watch time been on authoritative information?
•        I app reciated yourunequivocal response that you are not recommending anti -vacci ne content and you are
lifting authoritative information in both search and recommendations to al l audiences. Related to the second bul let: to
whatexte nt have your ran king i nterventions been effective the re? And, perhaps more critica lly, to what degree is
content from people who have been given a "strike" still being recommended and shown in prominent search
positions?
•        I feel like I am not coming away with a very clear picture of how you're measuring the effectiveness of uplifting
authoritative information. I obviously buy the theory-but how did you arrive on info-panels as the besti ntervention?
And to what extent are people clicki ng through afterexposu retovacci ne-hesitant content? What are you doing
mechanically to boost the authoritativeinformati on?When you have re levant influencers speak to experts, I imagine
(hope?) it's not just putting the content out there and that you're recommending it to peop le for whom it wou ld be
most re levant. How does t hat work?
•        What are the general vectors by w hi ch peop le see the "borderline" content-or real ly just vaccine-skeptical
content? Is it largely through recommendations? Search?

We are excited to continuingpartneringwithyou on this work as we have via                        but we want to make
su re that the work extends to the broader prob lem . Needless to say, in a couple of weeks when we're having trouble




                                                                                                 MOLA_DEFSPROD_00018147
                                                      CONFIDENTIAL
       Case 3:22-cv-01213-TAD-KDM
              Case 3:23-cv-03880-TLTDocument 174-1
                                      Document  7-1 Filed
                                                    Filed01/11/23
                                                          08/09/23 Page
                                                                    Page40
                                                                         41ofof70139
                                                                                  PageID #:
                                             9304
getting people to get vaccinated, we'll be in the barrel together here. We've worked with a number of platform partners
to t rack down similar information based on internal data, including partners of similarscale. I am feeling a bit like I don't
have a ful I sense of the picture here. We speak with other platforms on a semi-regular basis. We'd love to get in this
habit with you. Perhaps bi-weekly?

Looking forward to more conversation.

-Rob

Rob Flaherty
Director of Digi tal Strategy
The White House
Cell




                                                                                                 MOLA_DEFSPROD_ 00018148
Case 3:23-cv-03880-TLT Document 7-1 Filed 08/09/23 Page 42 of 139




                      EXHIBIT G
Case 3:22-cv-01213-TAD-KDM
        Case 3:23-cv-03880-TLTDocument 210-4
                                Document 7-1 Filed
                                             Filed 03/04/23
                                                   08/09/23 Page
                                                            Page 32
                                                                 43 of
                                                                    of 90
                                                                       139PageID #:
                                      15081
                                                                              CONFIDENTIAL



         OSG. Subject to and without waiving any of the foregoing objections, and based on a

  reasonable inquiry under the circumstances of abbreviated, expedited discovery, OSG responds

  that the following meetings took place with the Social-Media Platforms relating to

  Misinformation:

            On May 25, 2021, from 4:30 to 5:00 pm ET, Dr. Vivek Murthy from OSG and Andy

             Slavitt from the White House met remotely with Nick Clegg from Facebook. The

             purpose of the call was to introduce Dr. Murthy to Mr. Clegg. Misinformation may

             have been discussed.

            On July 12, 2021, from 3:00 pm to 3:30 pm ET, Eric Waldo from OSG met remotely

             with Lauren Culberton and Todd Boyle from Twitter. Kyla Fullenwider from U.S.

             Digital Response was invited and may have also attended. The meeting provided notice

             of the upcoming OSG Advisory and a high-level view of what issues OSG would be

             prioritizing in the Advisory.

            On July 14, 2021, from 3:00 pm to 3:30 pm ET, Eric Waldo from OSG met remotely

             with Kevin Kane from YouTube, Jan Antonaros from Google, and Ariel Altman from

             YouTube. The meeting provided notice of the upcoming OSG Advisory and a high-

             level view of what issues OSG would be prioritizing in the Advisory.

            On July 16, 2021, from 3:00 pm to 3:30 pm ET, Eric Waldo from OSG and Kyla

             Fullenwider from U.S. Digital Response met remotely with Payton Iheme and Justine

             Isola from Facebook. Kate Thornton and Brian Rice from Facebook were invited and

             may have also attended. The meeting discussed the newly issued OSG Advisory.

            On July 23, 2021, from 1:30 pm to 2:00 pm ET, Dr. Vivek Murthy and Eric Waldo

             from OSG, and D.J. Patil (who OSG understands to be a then part-time consultant

                                                32
                                                                              CONFIDENTIAL
Case 3:22-cv-01213-TAD-KDM
        Case 3:23-cv-03880-TLTDocument 210-4
                                Document 7-1 Filed
                                             Filed 03/04/23
                                                   08/09/23 Page
                                                            Page 33
                                                                 44 of
                                                                    of 90
                                                                       139PageID #:
                                      15082
                                                                            CONFIDENTIAL

            supporting the Office of Science Technology and Policy) met remotely with Nick

            Clegg and (very likely) Brian Rice from Facebook. The meeting discussed a recent e-

            mail from Mr. Clegg to Dr. Murthy concerning recent public comments by the

            Administration about Facebook.

           On July 30, 2021, from 2:00 pm to 2:30 pm ET, Eric Waldo from OSG met with Kevin

            Kane from YouTube, Lauren Kelly from Google, and Jan Antonaros from Google. The

            topics discussed included YouTube/Google following up on the announcement of the

            OSG Advisory to share more of the work it was doing around health mis- and

            disinformation.

           As indicated by MOLA_DEFSPROD_00007276, on August 10, 2021, there was a call

            between Eric Waldo from OSG, Robert Flaherty from EOP, and personnel from

            Facebook that discussed, as stated in the document, “an operation [Facebook]

            uncovered that is related to vaccine misinformation.”

           As indicated by MOLA_DEFSPROD_00007455, on or about September 14, 2021,

            there was a call between Eric Waldo from OSG and Kevin Kane and Jan Antonaros

            from Google/YouTube. As stated in the document, the purpose was “a brief meeting to

            discuss a new policy we are working on as well as provide an update on our overall

            efforts to combat harmful COVID-19 misinformation on the platform.”

           As indicated by MOLA_DEFSPROD_00007398, on November 22, 2021, from 4:00 to

            4:30 pm ET, there was a virtual meeting attended by Tericka Lambert, other ASPA

            personnel, personnel from Fors Marsh Group (a contractor for ASPA), personnel from

            OSG, and Google/YouTube personnel. This meeting briefly touched on

            misinformation among other topics.



                                                 33
                                                                            CONFIDENTIAL
Case 3:22-cv-01213-TAD-KDM
        Case 3:23-cv-03880-TLTDocument 210-4
                                Document 7-1 Filed
                                             Filed 03/04/23
                                                   08/09/23 Page
                                                            Page 34
                                                                 45 of
                                                                    of 90
                                                                       139PageID #:
                                      15083
                                                                                   CONFIDENTIAL

  The above list reflects OSG’s identification to date, based on reasonably diligent efforts, of

  meetings that took place with the Social-Media Platforms relating to Misinformation and the

  included participants. OSG is not aware of specific additional meetings with the Social-Media

  Platforms relating to Misinformation, but it is possible that the above list is not exhaustive.



         NIAID. Subject to and without waiving any of the foregoing objections, and based on a

  reasonable inquiry under the circumstances of abbreviated, expedited discovery, NIAID responds

  that no meetings took place with the Social-Media Platforms relating to Misinformation. NIAID

  has identified two possible meetings to discuss the potential participation by the NIAID director

  in U.S. Government efforts to publicize health information and provide COVID-19 and vaccine

  education via social media, which are not responsive to the Interrogatory, but are identified in the

  documents being produced in response to Plaintiffs’ First Requests For Production to Defendants:

            Facebook approached NIAID in March 2020 to discuss public service announcements

             and ads, Facebook’s CV19 hub, and an interview between Dr. Fauci and Mark

             Zuckerberg; NIAID scheduled the interview between Dr. Fauci and Mr. Zuckerberg

             (which aired on Facebook Live)

            NIAID was invited to, but did not attend, a meeting scheduled for March 4, 2021, to

             discuss possible Facebook Live interviews with celebrities/influencers related to

             COVID-19 vaccines

         Further, in accordance with the Court’s September 6, 2022 Order, subject to and without

  waiving any of the foregoing objections, and based on a reasonable inquiry under the

  circumstances of abbreviated, expedited discovery, including consultation with Dr. Fauci and

  review of Dr. Fauci and NIAID staff e-mail records, NIAID responds on behalf of Dr. Fauci in his

  role as Director of NIAID as follows: NIAID has not identified any communications, written or

                                                   34
                                                                                   CONFIDENTIAL
Case 3:22-cv-01213-TAD-KDM
        Case 3:23-cv-03880-TLTDocument 210-4
                                Document 7-1 Filed
                                             Filed 03/04/23
                                                   08/09/23 Page
                                                            Page 90
                                                                 46 of
                                                                    of 90
                                                                       139PageID #:
                                      15139



                                         VERIFICATION

         I, Max Lesko, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury that the

  interrogatory response of the Office of the Surgeon General to Plaintiffs’ First Set of Expedited

  Preliminary-Injunction Related Interrogatories dated July 18, 2022, Common Interrogatories

  Numbers 1-5 and Additional Interrogatories Numbers 1-3, contained in the Responses of the

  Office of the Surgeon General, is true and correct, to the best of my knowledge.

  Dated: 'HFHPEHU BBBBBB,
                    16    2022
                                                      ________________________
                                                          _______________
                                                      Max Lesko
                                                      Chief of Staff
                                                      Office of the Surgeon General
Case 3:23-cv-03880-TLT Document 7-1 Filed 08/09/23 Page 47 of 139




                     EXHIBIT H
Case 3:22-cv-01213-TAD-KDM
        Case 3:23-cv-03880-TLTDocument 210-1
                                Document 7-1 Filed
                                             Filed 03/04/23
                                                   08/09/23 Page
                                                            Page 148ofof464
                                                                         139PageID #:
                                      14563
                                ERIC WALDO 12/22/2022
                                                                              Page 1


        1              IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF LOUISIANA
        2                        MONROE DIVISION
        3
        4    THE STATE OF MISSOURI, et al.,
        5            Plaintiffs,
        6    vs.                         Case No.
                                         3:22-cv-01213-TAD-KDM
        7    JOSEPH R. BIDEN, JR., et al.,
        8            Defendants.
        9
      10
      11
      12
      13
      14            VIDEORECORDED VIDEOCONFERENCED DEPOSITION
                                  OF ERIC WALDO
      15                        DECEMBER 22, 2022
      16
      17
      18
      19
      20
      21
      22
      23
      24
      25



                                    LEXITAS LEGAL
     www.lexitaslegal.com         Phone: 1.800.280.3376             Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM   Document
         Case 3:23-cv-03880-TLT       210-1
                                Document 7-1 Filed
                                              Filed03/04/23
                                                    08/09/23 Page
                                                              Page117
                                                                   49 of
                                                                      of 464
                                                                         139 PageID #:
                                      14679
                                ERIC WALDO 12/22/2022
                                                                           Page 117


         1    And all of them had -- you know, had an opportunity
         2    to improve how they were handling this issue.                 And
         3    our job was to raise this as an issue so folks
         4    could know about it and hopefully take steps to --
         5    to ameliorate the situation.
         6             Q.      Yeah.    And that -- those taking steps
         7    to ameliorate would include social media platforms,
         8    correct?
         9             A.      Correct.     But I would again
       10     highlight, you know, when you think about our --
       11     the advisory but also the work we were doing, the
       12     -- the community toolkit, we recognize that we did
       13     call for an all-society approach, and we recognize
       14     that there are multiple ways to stop or lessen the
       15     spread or damage of misinformation, including
       16     individuals and others.          You know, it's -- it's not
       17     just -- it wasn't just a technology company issue
       18     or a social media issue.
       19              Q.      Are you aware who devised that phrase
       20     all-of-society approach to describe the advisory --
       21     or the advisory --
       22              A.      I'm not --
       23              Q.      -- recommendations?
       24              A.      I'm not aware.
       25              Q.      Scrolling down in Exhibit 3, the next



                                     LEXITAS LEGAL
      www.lexitaslegal.com         Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM   Document
         Case 3:23-cv-03880-TLT       210-1
                                Document 7-1 Filed
                                              Filed03/04/23
                                                    08/09/23 Page
                                                              Page118
                                                                   50 of
                                                                      of 464
                                                                         139 PageID #:
                                      14680
                                ERIC WALDO 12/22/2022
                                                                           Page 118


         1    bullet point talks about meeting on July 30th, 2021
         2    between yourself and representatives of
         3    Google/YouTube, correct?
         4             A.      That is correct.
         5             Q.      And the interrogatory responses
         6    supplied as topics discussed included in
         7    YouTube/Google, following up on the announcement of
         8    the OSG advisory to share and work the work it was
         9    doing around health mis- and disinformation,
       10     correct?
       11              A.      That's correct.
       12              Q.      What do you remember being said about
       13     that in this phone call or Zoom call?
       14              A.      It was a Zoom call.         I think it was
       15     really just the YouTube and Google teams saying,
       16     hey, we agree that this is a really important
       17     issue, and here's all the things that -- that we
       18     are working on about it.          So it was -- it was them
       19     informing us of the steps they are currently
       20     taking.
       21              Q.      And I believe you said part of the
       22     follow-up call with Facebook was to ask them to,
       23     you know, give a report on any steps they would be
       24     taking in response to the health advisory, correct?
       25              A.      Correct.



                                     LEXITAS LEGAL
      www.lexitaslegal.com         Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM   Document
         Case 3:23-cv-03880-TLT       210-1
                                Document 7-1 Filed
                                              Filed03/04/23
                                                    08/09/23 Page
                                                              Page119
                                                                   51 of
                                                                      of 464
                                                                         139 PageID #:
                                      14681
                                ERIC WALDO 12/22/2022
                                                                           Page 119


         1             Q.      And is that what's going on here with
         2    -- with YouTube as well, to ask them, okay, we've
         3    issued a health advisory.           What are you guys doing
         4    about it?
         5             A.      I think they -- they asked for the
         6    call.    So this was a little different.             They asked
         7    for the call on their own to share with us what
         8    they were doing.        I think they -- from a government
         9    affairs perspective, public affairs people were
       10     trying to say, hey, look, you know, we agree with
       11     you, and we want to let you know all the things
       12     we're doing.
       13              Q.      Did the report --
       14              A.      And, again, I think --
       15              Q.      Go ahead.
       16              A.      And I would think, right, we had
       17     first had that first call to let them know the
       18     report was coming out.          The report came out.         They
       19     looked at it, and then they said, hey, we've looked
       20     at it.     Let us tell you, you know, what we're
       21     doing.
       22              Q.      And in the first call you had
       23     mentioned, I think, that you advised them that
       24     there would be some potential recommendations for
       25     them, right?



                                     LEXITAS LEGAL
      www.lexitaslegal.com         Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM   Document
         Case 3:23-cv-03880-TLT       210-1
                                Document 7-1 Filed
                                              Filed03/04/23
                                                    08/09/23 Page
                                                              Page120
                                                                   52 of
                                                                      of 464
                                                                         139 PageID #:
                                      14682
                                ERIC WALDO 12/22/2022
                                                                           Page 120


         1             A.      That there were recommendations for
         2    -- I think they -- certainly within the advisory
         3    there are recommendations for what social media
         4    companies can do.
         5             Q.      And then in the follow-up call, they
         6    came back to you and said, okay, we've read the
         7    advisory and here are steps that we are taking or
         8    plan to take in response to the issues raised in
         9    the advisory?
       10              A.      I don't recall specifically, but that
       11     was -- the general tone was let us tell you what
       12     we're doing about this issue.            I didn't -- I didn't
       13     get the impression that it was new things.                I got
       14     the impression that it was work that they were
       15     already doing.
       16              Q.      What did they report to you?
       17              A.      I don't really remember, but I think
       18     it was generally saying, hey, we have a -- you
       19     know, we have a team that does -- that works on
       20     this issue.      Like we're -- you know, it's important
       21     to us.     Like we're thinking about how we're
       22     addressing it.
       23                      Just it was, I think, more of a
       24     process call of saying, you know, we want you to
       25     know this is on our agenda.



                                     LEXITAS LEGAL
      www.lexitaslegal.com         Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM   Document
         Case 3:23-cv-03880-TLT       210-1
                                Document 7-1 Filed
                                              Filed03/04/23
                                                    08/09/23 Page
                                                              Page121
                                                                   53 of
                                                                      of 464
                                                                         139 PageID #:
                                      14683
                                ERIC WALDO 12/22/2022
                                                                           Page 121


         1              Q.     So did they, for example, report that
         2    they had adopted new policies to address
         3    misinformation on YouTube?
         4              A.     I don't recall.
         5              Q.     Or did they give indication they were
         6    taking more steps to kind of remove more harmful
         7    information on YouTube?
         8              A.     I don't recall if there was a new.              I
         9    recall them telling us what they were currently
       10     doing to address that.          So I -- and some of these
       11     calls I experienced as them -- you know, they read
       12     the advisory and said, yeah, we are doing that.
       13     Thanks.     You may not know all the things we're
       14     doing, so let us share with you what we're doing.
       15               Q.     And you don't -- you don't remember
       16     whether they, you know, advised you of kind of new
       17     policies, like, hey, you raised an issue for us,
       18     and -- and here's are some things we're going to do
       19     to respond to it?
       20              A.      I don't recall.        I think I would
       21     remember because if it was the something new, I
       22     feel like we would have shared it or probably done
       23     something like put it in a fact sheet to say, look,
       24     because of this report, these many new things are
       25     happening.



                                     LEXITAS LEGAL
      www.lexitaslegal.com         Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM   Document
         Case 3:23-cv-03880-TLT       210-1
                                Document 7-1 Filed
                                              Filed03/04/23
                                                    08/09/23 Page
                                                              Page122
                                                                   54 of
                                                                      of 464
                                                                         139 PageID #:
                                      14684
                                ERIC WALDO 12/22/2022
                                                                           Page 122


         1             Q.      Did you do that for any of them?             Did
         2    you issue any fact sheets saying, you know, here
         3    are some positive developments that came out of the
         4    health advisory?
         5             A.      I don't remember.        I don't think so.
         6    The only time that could have happened would have
         7    been when we did the -- that -- what I keep calling
         8    the community toolkit, but I don't recall -- I do
         9    remember Twitter tweeted something in support of
       10     Dr. Murthy's advisory.
       11                      So when we launched on whatever, the
       12     15th or 16th, the Twitter policy handle I think
       13     either retweeted or quote tweeted and said
       14     something like, we agree.           This does call -- we do
       15     need an all-society approach, and here's what we're
       16     doing.     So that's my one recollection.
       17              Q.      And we talked earlier about how there
       18     was a particular focus on Facebook on July 15th and
       19     16th, and you mentioned that, I think, Jennifer
       20     Psaki mentioned Facebook specifically in the press
       21     conference and President Biden said "They're
       22     killing people," the next day.
       23                      Do you know why the White House
       24     thought a particular focus on Facebook was
       25     appropriate?



                                     LEXITAS LEGAL
      www.lexitaslegal.com         Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM   Document
         Case 3:23-cv-03880-TLT       210-1
                                Document 7-1 Filed
                                              Filed03/04/23
                                                    08/09/23 Page
                                                              Page128
                                                                   55 of
                                                                      of 464
                                                                         139 PageID #:
                                      14690
                                ERIC WALDO 12/22/2022
                                                                           Page 128


         1    of -- something they discovered.             I think it ended
         2    up being like a foreign entity was doing work on
         3    Facebook, spreading -- I don't know if it -- what
         4    type of misinformation, but they were letting us
         5    know that they discovered it.
         6             Q.      Do you know why they thought to brief
         7    you guys on that?
         8             A.      I do not --
         9                     MS. CHUZI:      Objection.      Calls for
       10     speculation.
       11                      THE WITNESS:       I don't know why.
       12              Q.      (BY MR. SAUER)       Scrolling down
       13     another bullet point, there's a reference to a
       14     September 14th meeting between yourself and Kevin
       15     Kane and Jan Antonaros at Google/YouTube, correct?
       16              A.      That is what the document says,
       17     correct.
       18              Q.      Yeah.    And do you recall that meeting
       19     or phone call?
       20              A.      Not really.      That's actually a few
       21     days before my first child was born, so I don't --
       22     I -- I vaguely remember this.
       23              Q.      You had other matters on your mind at
       24     that time?
       25              A.      I -- I did.



                                     LEXITAS LEGAL
      www.lexitaslegal.com         Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM   Document
         Case 3:23-cv-03880-TLT       210-1
                                Document 7-1 Filed
                                              Filed03/04/23
                                                    08/09/23 Page
                                                              Page129
                                                                   56 of
                                                                      of 464
                                                                         139 PageID #:
                                      14691
                                ERIC WALDO 12/22/2022
                                                                           Page 129


         1             Q.      It -- it -- it -- it says the purpose
         2    was a brief meeting to discuss a new policy we are
         3    working on as well as provide and update on our
         4    overall efforts to combat harmful COVID-19
         5    misinformation on the platform, right?
         6             A.      That's what it says, yes.
         7             Q.      So this would have been, I take it, a
         8    kind of second update by them to you following the
         9    health advisory of stuff they're doing to combat
       10     harmful COVID-19 misinformation through YouTube,
       11     correct?
       12              A.      That's correct.
       13              Q.      So first, they provided that update,
       14     I think, on the July 30th meeting that we talked
       15     about above, correct?
       16              A.      Yes.
       17              Q.      And then they --
       18              A.      Correct.
       19              Q.      Sorry.     And they followed up again on
       20     September 14th of another update of, you know, kind
       21     of telling the Surgeon General's office what they
       22     were doing to fight misinformation?
       23              A.      That's correct.
       24              Q.      Do you know what it was -- it says
       25     they gave some kind of update on overall efforts to



                                     LEXITAS LEGAL
      www.lexitaslegal.com         Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM   Document
         Case 3:23-cv-03880-TLT       210-1
                                Document 7-1 Filed
                                              Filed03/04/23
                                                    08/09/23 Page
                                                              Page130
                                                                   57 of
                                                                      of 464
                                                                         139 PageID #:
                                      14692
                                ERIC WALDO 12/22/2022
                                                                           Page 130


         1    combat harmful COVID-19 misinformation on the
         2    platform.      Do you know what those efforts were?
         3             A.      I don't recall.
         4             Q.      Do you remember anything specific
         5    about what YouTube and Google were doing in this
         6    time frame to kind of remove or -- or reduce the
         7    spread of misinformation?
         8             A.      I don't recall.
         9             Q.      It also says that they were -- the
       10     meeting was to discuss a new policy we were working
       11     on.    Do you remember that?
       12              A.      I do not.
       13              Q.      Do you know what new -- was that a
       14     new policy that related to misinformation?
       15              A.      I'm not sure.
       16              Q.      Or a new policy related to something
       17     unrelated?
       18              A.      I don't recall.
       19              Q.      You remember YouTube and Google
       20     raising anything that was unrelated to the health
       21     advisory about this information and these two
       22     calls?
       23              A.      I don't recall.
       24              Q.      So you don't know whether other
       25     topics came up or if they were just focused on



                                     LEXITAS LEGAL
      www.lexitaslegal.com         Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM   Document
         Case 3:23-cv-03880-TLT       210-1
                                Document 7-1 Filed
                                              Filed03/04/23
                                                    08/09/23 Page
                                                              Page131
                                                                   58 of
                                                                      of 464
                                                                         139 PageID #:
                                      14693
                                ERIC WALDO 12/22/2022
                                                                           Page 131


         1    health misinformation following the advisory?
         2             A.      I'm not certain.        I don't recall.
         3             Q.      Do you remember anything specific
         4    that was said in this call on September 14th?
         5             A.      I do not.
         6             Q.      Did you say anything?
         7             A.      I mean, I would have, in general,
         8    been -- tried to greet them, asked them how they
         9    were doing, and certainly asked them, you know, be
       10     -- expressed some sort of feeling of, you know,
       11     interest in what they wanted to share.
       12              Q.      Okay.    But do you remember saying
       13     anything in response to what they did share about a
       14     new policy and update on overall efforts to combat
       15     harmful misinformation?
       16              A.      I do not.
       17              Q.      Going down a little further, last
       18     bullet point here refers to a meeting on
       19     November 22nd, 2021.         It mentions that personnel
       20     from OSG were involved in this meeting.               Do you
       21     remember -- were you involved in this meeting?                  Do
       22     you know?
       23              A.      I don't think so.        I do not believe
       24     so.    If I was on it -- if I was in the meeting, I
       25     would have identified it.



                                     LEXITAS LEGAL
      www.lexitaslegal.com         Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM   Document
         Case 3:23-cv-03880-TLT       210-1
                                Document 7-1 Filed
                                              Filed03/04/23
                                                    08/09/23 Page
                                                              Page296
                                                                   59 of
                                                                      of 464
                                                                         139 PageID #:
                                      14858
                                ERIC WALDO 12/22/2022
                                                                           Page 296


         1    focused, given your personal situation at the time,
         2    but do you know whether there was a briefing on
         3    this?
         4             A.      I do not.
         5             Q.      Do you know whether Facebook talked
         6    to, you know, Courtney, Rob Flaherty, DJ Patil
         7    about this in your absence?
         8             A.      I do not.
         9             Q.      Exhibit 31.      Do you remember this
       10     e-mail from the Google/YouTube team in
       11     September 29th?
       12              A.      So I would have been on paternity
       13     leave during this time.
       14              Q.      Okay.     And in this e-mail, they
       15     report back to you and Nancy S. Negron about --
       16              A.      Negron.
       17              Q.      Yeah, who's she?
       18              A.      Nancy Negron was my deputy director
       19     of engagement.
       20              Q.      And they report back about having a
       21     COVID-19 vaccine misinfo policy that allows them to
       22     remove a limited list of verified false claims
       23     about COVID vaccines, right?
       24              A.      Yes, that's what the e-mail says.
       25              Q.      And they also report back to you guys



                                     LEXITAS LEGAL
      www.lexitaslegal.com         Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM   Document
         Case 3:23-cv-03880-TLT       210-1
                                Document 7-1 Filed
                                              Filed03/04/23
                                                    08/09/23 Page
                                                              Page297
                                                                   60 of
                                                                      of 464
                                                                         139 PageID #:
                                      14859
                                ERIC WALDO 12/22/2022
                                                                           Page 297


         1    that they're introducing a new policy that
         2    prohibits content that includes harmful
         3    misinformation about the safety, efficacy, and
         4    ingredients for the vaccines, right?
         5             A.      Yes, that's what the e-mail says.
         6             Q.      Is this an unsolicited e-mail or are
         7    they responding to some kind of communication or
         8    request from you guys, do you know?
         9             A.      I'm not positive, but it would appear
       10     to be an unsolicited e-mail.
       11              Q.      I know that you had said earlier that
       12     you reached out to Facebook, Twitter, and YouTube
       13     in the aftermath of the health advisory that --
       14     to -- to see what steps they were taking.                Is that
       15     response to that request for information?
       16              A.      Could be.      I'm not certain, to be
       17     honest with you.        But based on both my departure --
       18     and I think I had had an out-of-office at this
       19     moment, which may have led them to add Nancy.
       20     Nancy was also just coming on, and I don't think
       21     her HHS e-mail had been set up yet, but I'm not --
       22     I'm not positive.
       23              Q.      Let's look at Exhibit 32.           Can you
       24     see this one on screen share?
       25              A.      Yes, I see this note.



                                     LEXITAS LEGAL
      www.lexitaslegal.com         Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM   Document
         Case 3:23-cv-03880-TLT       210-1
                                Document 7-1 Filed
                                              Filed03/04/23
                                                    08/09/23 Page
                                                              Page336
                                                                   61 of
                                                                      of 464
                                                                         139 PageID #:
                                      14898
                                ERIC WALDO 12/22/2022
                                                                            Page 336


         1                     THE VIDEOGRAPHER:        The time is 3:41
         2    p.m. Central Standard Time.           We are back on the
         3    record.
         4             Q.      (BY MR. SAUER)       Mr. Waldo, you're
         5    aware that on March 3rd the Surgeon General's
         6    office issued a Request For Information about
         7    social media misinformation.            You recall that?
         8             A.      Yes.
         9             Q.      Yeah.    And here on the screens share,
       10     I'm showing you Exhibit 42 that I previously
       11     e-mailed your counsel.          (Technical difficulty) this
       12     the RFI --
       13              A.      That's correct.
       14              Q.      -- on here, right?          Yeah.   Called
       15     Impact of Health Misinformation on the Digital
       16     Information Environment in the United States
       17     Through the COVID-19 Pandemic Request for
       18     Information, right?
       19              A.      That's correct.
       20              Q.      And were you involved in formulating
       21     this RFI at all?
       22              A.      I was involved in meetings where the
       23     -- where there was a discussion about whether or
       24     not to do this RFI or for the overall strategy
       25     around -- around this data by -- with -- with the



                                     LEXITAS LEGAL
      www.lexitaslegal.com         Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM   Document
         Case 3:23-cv-03880-TLT       210-1
                                Document 7-1 Filed
                                              Filed03/04/23
                                                    08/09/23 Page
                                                              Page337
                                                                   62 of
                                                                      of 464
                                                                         139 PageID #:
                                      14899
                                ERIC WALDO 12/22/2022
                                                                           Page 337


         1    team, yes.
         2             Q.      Overall strategy.        What overall
         3    strategy was there with -- regarding this RFI?
         4             A.      I'm sorry, I didn't say strategy
         5    about this RFI.        Strategy whether or not there was
         6    going to be additional data requests to make and
         7    how to make them.
         8             Q.      Oh.    You mean additional data
         9    requests.      What do you mean by that?
       10              A.      I mean -- I shouldn't say additional.
       11     I think there was a question of whether or not we
       12     were going to -- going to make questions, you know,
       13     ask for -- given that the -- given the
       14     conversations with Facebook and others, was there
       15     something more constructive we could do around
       16     helping researchers have a better understanding of
       17     what's happening in this community.              And so
       18     ultimately, the RFI was -- was determined as the
       19     path forward.
       20              Q.      Okay.    So were there other paths
       21     forward (technical difficulty) Surgeon General's
       22     office --
       23                      (A discussion was held off the
       24     record.)
       25              Q.      (BY MR. SAUER)       Were there other



                                     LEXITAS LEGAL
      www.lexitaslegal.com         Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM   Document
         Case 3:23-cv-03880-TLT       210-1
                                Document 7-1 Filed
                                              Filed03/04/23
                                                    08/09/23 Page
                                                              Page338
                                                                   63 of
                                                                      of 464
                                                                         139 PageID #:
                                      14900
                                ERIC WALDO 12/22/2022
                                                                           Page 338


         1    paths forward about COVID-19 misinformation that
         2    the Surgeon General's office did or was this the
         3    only one at this time?
         4                     MS. CHUZI:      Objection.      To the extent
         5    that question calls for information covered by the
         6    deliberative process privilege, I will instruct the
         7    witness not to answer.
         8                     THE WITNESS:       On the advice of
         9    counsel, I will not answer the question.
       10              Q.      (BY MR. SAUER)       I'm not asking about
       11     deliberations.         I'm asking if there were actions
       12     taken.     Did the Surgeon General's office do
       13     anything other than RFI to address issues of COVID
       14     misinformation in this time frame?
       15              A.      Not to my knowledge.
       16              Q.      Scrolling down, were you involved in
       17     formulating, you know, kind of what kind of
       18     information to ask for here in the RFI?
       19              A.      No.
       20              Q.      Who was involved in formulating kind
       21     of the specific types of information to ask for?
       22              A.      I think Kyla was the primary driver
       23     on the RFI from a content expert perspective.
       24              Q.      That's Kyla Fullenwider?
       25              A.      That's correct.



                                     LEXITAS LEGAL
      www.lexitaslegal.com         Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM   Document
         Case 3:23-cv-03880-TLT       210-1
                                Document 7-1 Filed
                                              Filed03/04/23
                                                    08/09/23 Page
                                                              Page339
                                                                   64 of
                                                                      of 464
                                                                         139 PageID #:
                                      14901
                                ERIC WALDO 12/22/2022
                                                                           Page 339


         1             Q.      Do you know if she had input from
         2    Renee DiResta or other academics in formulating the
         3    RFI?
         4             A.      I do not.
         5             Q.      Do you know -- do you know who she --
         6    who she would have worked with in formulating it?
         7             A.      I do not.
         8             Q.      Do you know if anyone besides Kyla
         9    had any input into what information to ask for?
       10              A.      I know that Kyla was running these
       11     ideas by Max Lesko from an -- more of a process,
       12     getting Dr. Murthy's input perspective.               More or
       13     less of a content expertise perspective.                But I
       14     think she certainly ran this by Max.
       15              Q.      And that was to get Dr. Murthy's
       16     approval on the approach taken?
       17              A.      I believe so, yes.
       18              Q.      Do you know if Dr. Murthy provided
       19     input on the content of the RFI, asked for this
       20     information, that kind of thing?
       21              A.      I'm not certain.
       22              Q.      Anyone else you know of besides
       23     Dr. Murthy, Max Lesko, and Kyla Fullenwider
       24     involved in the formulation of the RFI?
       25              A.      Not to my knowledge.



                                     LEXITAS LEGAL
      www.lexitaslegal.com         Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM   Document
         Case 3:23-cv-03880-TLT       210-1
                                Document 7-1 Filed
                                              Filed03/04/23
                                                    08/09/23 Page
                                                              Page340
                                                                   65 of
                                                                      of 464
                                                                         139 PageID #:
                                      14902
                                ERIC WALDO 12/22/2022
                                                                           Page 340


         1             Q.      What is Kyla's role in the Surgeon
         2    General's office in this time frame?              I remember
         3    she's in US Digital Response.            Is she a -- an
         4    employee of the Surgeon General's office by now or
         5    what's her formal role?
         6             A.      I'm not certain how -- what was the
         7    mechanism for how she was employed out of HHS, but
         8    I know she was doing work on behalf of the Surgeon
         9    General.
       10              Q.      The RFI here on the -- I think it's
       11     on the second page of the document -- asks for
       12     information about technology platforms, correct?
       13              A.      What page are you on, sir?
       14              Q.      Second page of the document, here
       15     down in the bottom right, column number 2,
       16     Information about Technology Platforms.
       17              A.      Yes.    That's correct.
       18              Q.      And it asks number 3:          Information
       19     about how widespread COVID-19 misinformation is on
       20     individual technology platforms including general
       21     search engines, content sharing platforms, social
       22     media platforms, e-commerce platforms, crowdsourced
       23     platforms, and instant messaging systems, correct?
       24              A.      That's correct.
       25              Q.      Were there discussions -- general



                                     LEXITAS LEGAL
      www.lexitaslegal.com         Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM   Document
         Case 3:23-cv-03880-TLT       210-1
                                Document 7-1 Filed
                                              Filed03/04/23
                                                    08/09/23 Page
                                                              Page341
                                                                   66 of
                                                                      of 464
                                                                         139 PageID #:
                                      14903
                                ERIC WALDO 12/22/2022
                                                                           Page 341


         1    search engines, that's like Google, right?
         2             A.      I assume so.
         3             Q.      What's a content sharing platform?
         4    Is that like Reddit?
         5             A.      I'm not certain.        I don't -- I'm not
         6    sure what the technical definition is there, but
         7    it --
         8             Q.      Do you know what kind of platform --
         9             A.      Because that seems -- that seems
       10     different than social media.
       11              Q.      Yeah, what kind of platforms are they
       12     referring to there, do you know?
       13              A.      I do not.
       14              Q.      It goes on to say social media
       15     platforms, then e-commerce platforms.               What are
       16     those?
       17              A.      I presume places where you -- where
       18     e-commerce occurs so...
       19              Q.      eBay, Amazon, places like that?
       20              A.      I think -- I definitely would think
       21     Amazon, yeah.
       22              Q.      What -- were there discussions that
       23     you're aware of about COVID misinformation being
       24     shared on e-commerce platforms?
       25              A.      I recall at some point in the rollout



                                     LEXITAS LEGAL
      www.lexitaslegal.com         Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM   Document
         Case 3:23-cv-03880-TLT       210-1
                                Document 7-1 Filed
                                              Filed03/04/23
                                                    08/09/23 Page
                                                              Page342
                                                                   67 of
                                                                      of 464
                                                                         139 PageID #:
                                      14904
                                ERIC WALDO 12/22/2022
                                                                           Page 342


         1    Kyla sharing with me just from a factual
         2    perspective that on sites like Amazon it was
         3    possible to also spread health mis- and
         4    disinformation based on promotion of, you know,
         5    certain -- I think the algorithm could promote if
         6    you like this, buy this, and maybe promoting
         7    conspiracy theories.
         8             Q.      So conspiracy theories about COVID or
         9    other conspiracy theories?
       10              A.      I think it was about COVID but I
       11     don't truly recall.
       12              Q.      Okay.    What are crowdsourced
       13     platforms?
       14              A.      I'm not sure what the technical
       15     definition is of a crowdsourced platform.
       16              Q.      Do you know what platforms are being
       17     referred to there in that -- in that phrase?
       18              A.      As I said just now, I don't know what
       19     crowdsourced platforms means in the context of this
       20     document.
       21              Q.      So one of the things that's asked for
       22     here is aggregate data and analysis on the
       23     prevalence of COVID-19 misinformation on individual
       24     platforms including exactly how many users saw or
       25     may have been exposed to instances of COVID-19



                                     LEXITAS LEGAL
      www.lexitaslegal.com         Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM   Document
         Case 3:23-cv-03880-TLT       210-1
                                Document 7-1 Filed
                                              Filed03/04/23
                                                    08/09/23 Page
                                                              Page343
                                                                   68 of
                                                                      of 464
                                                                         139 PageID #:
                                      14905
                                ERIC WALDO 12/22/2022
                                                                           Page 343


         1    misinformation, right?
         2             A.      Yes, that's what the RFI says on that
         3    paragraph.
         4             Q.      Is that the kind of data that you
         5    guys have been asking Facebook for in the meetings
         6    in 2021 where you talked about data transparency?
         7             A.      It appears to be a version of that,
         8    yes.
         9             Q.      Scrolling down here at number 5, it
       10     says information about the sources of COVID-19
       11     misinformation.       Do you see that?
       12              A.      I do see that.
       13              Q.      And it asks for information about the
       14     major sources of COVID-19 misinformation associated
       15     with exposure, correct?
       16              A.      That is what 5 sub bullet A says,
       17     correct.
       18              Q.      What does "associated with exposure"
       19     mean there?
       20              A.      It says -- I'm not sure technically.
       21     It says information about COVID -- resources about
       22     COVID-19 misinformation.          Information about the
       23     major sources of COVID-19 misinformation associated
       24     with exposure.       I don't -- let's see, does it have
       25     the definition in there further down?



                                     LEXITAS LEGAL
      www.lexitaslegal.com         Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM   Document
         Case 3:23-cv-03880-TLT       210-1
                                Document 7-1 Filed
                                              Filed03/04/23
                                                    08/09/23 Page
                                                              Page344
                                                                   69 of
                                                                      of 464
                                                                         139 PageID #:
                                      14906
                                ERIC WALDO 12/22/2022
                                                                           Page 344


         1             Q.      I don't recall.        I guess up here it
         2    says --
         3             A.      Sorry.     I was trying to look.         Yes.
         4             Q.      Seeing content in news feeds and
         5    exposure.
         6             A.      Yeah, okay.      So it seems to be saying
         7    that information associated with seeing the content
         8    in news feeds and search results are
         9    algorithmically nominated content.
       10              Q.      It goes on under little I there to
       11     say:    By source, we mean both specific public
       12     actors that are providing misinformation as well as
       13     components of specific platforms that are driving
       14     exposure to misinformation, correct?
       15              A.      Yes, that's what the document says.
       16              Q.      So the RFI is actually seeking
       17     information about specific speakers or posters on
       18     social media platforms that spread misinformation,
       19     right?
       20              A.      I'm not sure, because earlier, you
       21     highlighted that it talks about aggregate data and
       22     I'm pretty sure the document also talks about
       23     anonymity.
       24              Q.      So you think that specific public
       25     actors does not refer to specific people who spread



                                     LEXITAS LEGAL
      www.lexitaslegal.com         Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM   Document
         Case 3:23-cv-03880-TLT       210-1
                                Document 7-1 Filed
                                              Filed03/04/23
                                                    08/09/23 Page
                                                              Page345
                                                                   70 of
                                                                      of 464
                                                                         139 PageID #:
                                      14907
                                ERIC WALDO 12/22/2022
                                                                           Page 345


         1    -- provide misinformation?
         2             A.      It may, but I'm pretty sure in this
         3    document there's some sort of caveat about having
         4    to submit anonymized data.
         5             Q.      Okay.    That would be an indicator of
         6    people who are reviewing it, right, the people
         7    exposed to the misinformation, right?
         8             A.      I'm sorry.      Say again, sir.
         9             Q.      Doesn't the anonymized data refer to
       10     the users who are exposed, not the public actors
       11     who are providing this information?
       12              A.      I'm not sure.       If you can bring up
       13     that portion of the document, I'm happy to take a
       14     look.    But I'm pretty sure in general when the
       15     federal government does requests for information
       16     like this, there are various stipulations that have
       17     to be made to -- for -- to ensure that there's
       18     anonymized data.
       19              Q.      Let me ask you this.         I believe there
       20     was a plan expressed by the Surgeon General's
       21     office to render any comments received in response
       22     of this information public, right, to publicly post
       23     them?
       24              A.      Are you asking -- can you repeat the
       25     question?      It sounded like a statement.



                                     LEXITAS LEGAL
      www.lexitaslegal.com         Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM   Document
         Case 3:23-cv-03880-TLT       210-1
                                Document 7-1 Filed
                                              Filed03/04/23
                                                    08/09/23 Page
                                                              Page346
                                                                   71 of
                                                                      of 464
                                                                         139 PageID #:
                                      14908
                                ERIC WALDO 12/22/2022
                                                                           Page 346


         1             Q.      Did the -- did the Surgeon General's
         2    office announce that it would publicly post all the
         3    comments received in response to this RFI?
         4             A.      I don't know.
         5             Q.      Was there a -- do you recall a policy
         6    of that?
         7             A.      I don't know.       In my other life
         8    working in government for, like, noticing common
         9    rule making, which I'm sure you know from your law
       10     school days, there was requirements about public --
       11     making public comments, but I'm not sure if that
       12     refers to RFIs as well.
       13              Q.      Let me ask this.        Do you know whether
       14     the comments received in response to this RFI have
       15     ever been published?
       16              A.      I'm -- I'm not aware of whether they
       17     have or not.
       18              Q.      And we submitted a FOIA request for
       19     them months ago and haven't received any yet.                 Are
       20     you aware of that?
       21              A.      I am not.
       22              Q.      So you don't know whether the Surgeon
       23     General's office ever made these -- the comments it
       24     received public?
       25                      MS. CHUZI:      Objection.      Asked and



                                     LEXITAS LEGAL
      www.lexitaslegal.com         Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM   Document
         Case 3:23-cv-03880-TLT       210-1
                                Document 7-1 Filed
                                              Filed03/04/23
                                                    08/09/23 Page
                                                              Page349
                                                                   72 of
                                                                      of 464
                                                                         139 PageID #:
                                      14911
                                ERIC WALDO 12/22/2022
                                                                            Page 349


         1             Q.      And here, for example in Exhibit 45,
         2    there's an e-mail from Max Lesko to Nick Clegg and
         3    Brian Rice and someone else at Facebook with a
         4    letter from the U.S. Surgeon General attached,
         5    correct?
         6             A.      Yes, that's an e-mail from Max Lesko
         7    to Nick Clegg, Brian Rice, and Nathaniel Gleicher.
         8             Q.      And it indicates that he's attached a
         9    letter from Surgeon General Murthy to Mark
       10     Zuckerberg, right?
       11              A.      That's correct.
       12              Q.      And he says -- also says:           Let me
       13     know if I can be helpful with respect to the
       14     request for information which has been sent to the
       15     Federal Register and expect to receive submissions
       16     in the coming days.         Correct?
       17              A.      Yes, that's what Max has written to
       18     -- to those individuals.
       19              Q.      And so the Surgeon General's office
       20     e-mailed a link to the RFI to Facebook and also
       21     attached a letter directly from Surgeon General
       22     Murthy to Mark Zuckerberg, right?
       23              A.      That is what the e-mail says, yes.
       24              Q.      And then Exhibit 46.         And this is --
       25     is this actually the letter from Surgeon General



                                     LEXITAS LEGAL
      www.lexitaslegal.com         Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM   Document
         Case 3:23-cv-03880-TLT       210-1
                                Document 7-1 Filed
                                              Filed03/04/23
                                                    08/09/23 Page
                                                              Page350
                                                                   73 of
                                                                      of 464
                                                                         139 PageID #:
                                      14912
                                ERIC WALDO 12/22/2022
                                                                           Page 350


         1    Murthy to Mark Zuckerberg dated March 3rd, 2022
         2    that Max Lesko e-mailed?
         3             A.      It would appear so.
         4             Q.      Yeah, let me put it on the screen
         5    share.     And the purpose of this letter is to
         6    encourage Facebook to participate in the RFI,
         7    right?
         8             A.      It's -- it says:        I am writing today
         9    to request that your company contribute to the RFI.
       10              Q.      So he's encouraging Facebook to
       11     contribute to the RFI, right?
       12              A.      He's definitely asking him to do so,
       13     yes.
       14              Q.      And he says:       Given that a large
       15     proportion of health misinformation is spread
       16     through technology platforms, my Advisory includes
       17     a call for technology companies to join this
       18     broader effort to create a safer, healthier
       19     information environment, right?
       20              A.      Yes, that's what -- that's an
       21     accurate reading of that portion of the letter.
       22              Q.      And he requests responses from
       23     companies about the extent and spread of COVID-19
       24     misinformation on your platforms, policies to
       25     address COVID-19 misinformation, and their



                                     LEXITAS LEGAL
      www.lexitaslegal.com         Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM   Document
         Case 3:23-cv-03880-TLT       210-1
                                Document 7-1 Filed
                                              Filed03/04/23
                                                    08/09/23 Page
                                                              Page351
                                                                   74 of
                                                                      of 464
                                                                         139 PageID #:
                                      14913
                                ERIC WALDO 12/22/2022
                                                                           Page 351


         1    effectiveness, sources of COVID-19 misinformation
         2    and so forth, right?
         3             A.      That's an accurate reading of that
         4    portion of the letter.
         5             Q.      Were you involved in drafting the
         6    letter?       I think you probably were still on
         7    paternity leave at this time, right?
         8             A.      Yeah.    As I mentioned, this letter is
         9    dated March 3rd and I was still on paternity leave.
       10     So I was not involved in the drafting of this
       11     letter.
       12              Q.      Did Max Lesko send similar letters to
       13     other social media platforms?
       14              A.      I think so.
       15              Q.      Yeah.    I mean, I don't want to put
       16     six more exhibits in front of you, but would you
       17     agree that he sent a very similar, basically
       18     identically phrased letter to Google, LinkedIn,
       19     Twitter, YouTube, and Microsoft all on that same
       20     day, March 3rd, 2022?
       21              A.      I don't know if he did, but if you --
       22     I don't have any reason to disbelieve that he did,
       23     so.    That, I believe was the plan.
       24              Q.      Let's just very briefly, I'm going to
       25     e-mail those to your counsel and I'll pull them up



                                     LEXITAS LEGAL
      www.lexitaslegal.com         Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM   Document
         Case 3:23-cv-03880-TLT       210-1
                                Document 7-1 Filed
                                              Filed03/04/23
                                                    08/09/23 Page
                                                              Page352
                                                                   75 of
                                                                      of 464
                                                                         139 PageID #:
                                      14914
                                ERIC WALDO 12/22/2022
                                                                           Page 352


         1    real quick.
         2                     And you said you're aware that that
         3    was the plan, right?
         4             A.      I think I became aware after I got
         5    back that that happened.          I wasn't part of the
         6    planning process.
         7             Q.      Here on the screen share, I'm showing
         8    you Exhibit 47.       Similar letter to Sundar Pichai of
         9    Google from Surgeon General Murthy about the RFI
       10     dated March 3rd, correct?
       11              A.      Yes, that's the date of the letter.
       12                      Sir, if you're -- okay.          Sorry.
       13              Q.      Exhibit 48, yeah, -- similar
       14     letter --
       15              A.      Thank you.
       16              Q.      -- to the CEO of LinkedIn about the
       17     RFI encouraging them to participate, correct?
       18              A.      It's a letter asking -- informing
       19     them and requesting that they participate in the
       20     RFI.
       21              Q.      In fact, these letters kind of all
       22     have exactly the same text, right?              Is that your
       23     understanding?
       24              A.      You're moving the letters up and down
       25     very quickly but I don't have any reason to believe



                                     LEXITAS LEGAL
      www.lexitaslegal.com         Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM   Document
         Case 3:23-cv-03880-TLT       210-1
                                Document 7-1 Filed
                                              Filed03/04/23
                                                    08/09/23 Page
                                                              Page353
                                                                   76 of
                                                                      of 464
                                                                         139 PageID #:
                                      14915
                                ERIC WALDO 12/22/2022
                                                                           Page 353


         1    they're not virtually the same.
         2             Q.      Exhibit 49, similar letter to
         3    Twitter, right, and Parag Agrawal, who was then the
         4    CEO of Twitter?
         5             A.      Yes, it appears to be the same
         6    functional letter.        I'm not having much of an
         7    opportunity to review it.           But I don't have any
         8    reason to believe it's not the same overall text
         9    requesting that they participate in the RFI.
       10              Q.      Exhibit 50, same letter to Microsoft
       11     -- I'm sorry, YouTube, I apologize.              Same letter to
       12     YouTube, correct?
       13              A.      You're okay.       Yes, sir, I'm only
       14     looking at part of the letter that you're sharing
       15     and I can't actually review all of it in the way
       16     that we're doing it right now.            But it appears to
       17     be the same form of a letter asking for a request
       18     -- requesting that -- informing them about the RFI
       19     and requesting that they participate.
       20              Q.      And then finally, Exhibit 51, similar
       21     letter to Microsoft, correct?
       22              A.      That looks like it's to the Microsoft
       23     corporation.      Right now, I'm only being exposed to
       24     the first couple of lines.           But it looks -- the
       25     first -- overall, it seems to be the same letter



                                     LEXITAS LEGAL
      www.lexitaslegal.com         Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM   Document
         Case 3:23-cv-03880-TLT       210-1
                                Document 7-1 Filed
                                              Filed03/04/23
                                                    08/09/23 Page
                                                              Page354
                                                                   77 of
                                                                      of 464
                                                                         139 PageID #:
                                      14916
                                ERIC WALDO 12/22/2022
                                                                           Page 354


         1    requesting that they participate in the RFI.
         2             Q.      Did all of those companies that got
         3    the letter, did they all participate, do you know?
         4             A.      I don't know.
         5             Q.      Do you know if Facebook submitted
         6    anything?
         7             A.      I think so.      But I'm not positive.
         8             Q.      How about Google?
         9             A.      I don't know.
       10              Q.      How about Twitter?
       11              A.      I don't know.
       12              Q.      How about Microsoft?
       13              A.      I don't know.
       14              Q.      Shortly after the RFI was issued, the
       15     Surgeon General gave an interview to GQ Magazine,
       16     right?     Does that ring a bell?
       17              A.      It does not.
       18              Q.      So you weren't -- let me -- let me
       19     show Exhibit 52 on the screen share.              Does this
       20     dazzling picture of Surgeon General Murthy jog your
       21     memory?
       22              A.      It does not.
       23              Q.      So you don't recall him giving an
       24     interview to GQ Magazine on March 11th of 2022?
       25              A.      I do not.



                                     LEXITAS LEGAL
      www.lexitaslegal.com         Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM   Document
         Case 3:23-cv-03880-TLT       210-1
                                Document 7-1 Filed
                                              Filed03/04/23
                                                    08/09/23 Page
                                                              Page375
                                                                   78 of
                                                                      of 464
                                                                         139 PageID #:
                                      14937
                                ERIC WALDO 12/22/2022
                                                                           Page 375


         1                         NOTARIAL CERTIFICATE
         2
         3            I, Tammie A. Heet, Registered Professional
         4    Reporter, certified Shorthand Reporter for the
         5    State of Illinois, and Certified Court Reporter for
         6    the state of Missouri and a duly commissioned
         7    Notary Public within and for the States of Missouri
         8    and Illinois, do hereby certify that the witness
         9    whose testimony appears in the foregoing deposition
       10     was duly sworn by me; that the testimony of said
       11     witness was taken by me to the best of my ability
       12     and thereafter reduced to printing under my
       13     direction; that I am neither counsel for, related
       14     to, nor employed by any of the parties to the
       15     action in which this deposition was taken, and
       16     further that I am not a relative or employee of any
       17     attorney or counsel employed by the parties
       18     thereto, nor financially or otherwise interested in
       19     the outcome of the action.
       20
       21
       22                             J:u~fi!Jiu;b
                                   ____________________________
                                   Tammie A. Heet, RPR, CSR, CCR
       23
       24
       25



                                     LEXITAS LEGAL
      www.lexitaslegal.com         Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:23-cv-03880-TLT Document 7-1 Filed 08/09/23 Page 79 of 139




                     EXHIBIT I
                                                       CONFIDENTIAL
        Case 3:22-cv-01213-TAD-KDM
               Case 3:23-cv-03880-TLT Document
                                       Document210-9 Filed08/09/23
                                                7-1 Filed  03/04/23 Page
                                                                     Page80
                                                                          1 of
                                                                            of 4139
                                                                                 PageID #:
                                            15150


From:        Kevin Kan
Sent:        7/9/2021 12 :36:47 PM
To:          Wa I do, Eri c (HHS/OASH)
CC:                                  yla Fullenwide
Subject :    Re: Connecting with Dr. Murthy's office



Thank you! Look forward to speaking with you then.
Best,
Kevin

On Fri, Jul 9, 2021 at I 0:28 AM Waldo, Eric (HHS/OASH)                             wrote:
 Sony about that! Moving too fast. Will update.


 From: Kevin Kane
 Sent: Friday, July 9, 2021 9:28 AM
 To: Waldo, Eric (HHS/OASH)
 Cc:                        Kyla Fullenwider
 Subject: Re: Connecting with Dr. Murthy's office


 Thanks Eric -


 The invite you sent was for 3:30-4:15, and unfortunately some of my colleagues won't be able to make it then.
 Any chance we could meet 3:00-3:30 (ET) on the 14th?


 Thanks again, and hope you have a good weekend!


 K evin


 On Thu, Jul 8, 2021 at 5:30 PM Waldo, Eric (HHS/OASH)                               wrote:
  Great Just send you a zoom!


  From: Kevin Kane
  Sent: Thursday, July 8, 2021 8:35 AM
  To: Waldo, Eric (HHS/OASH)
  Cc:                        K yla Fullenwider
  Subject: Re: Connecting with Dr. Murthy's office


  Good Morning Eric -


  How about we shoot for 3:00-3 :30pm (ET) on Wednesday, July 14?


  Thanks,



                                                                                      MOLA_DEFSPROD_00007439
                                               CONFIDENTIAL
   Case 3:22-cv-01213-TAD-KDM
          Case 3:23-cv-03880-TLT Document
                                  Document210-9 Filed08/09/23
                                           7-1 Filed  03/04/23 Page
                                                                Page81
                                                                     2 of
                                                                       of 4139
                                                                            PageID #:
                                       15151

Kevin




On Wed, Jul 7, 2021 at 5:11 PM Waldo, Eric (HHS/OASH)                                   wrote:
Hi Kevin,


Thanks so much for your note. Would love to have more of your colleagues join.


I'm traveling \.vith Dr. Murthy for part of next week so it's a bit tight Here are some options:
Wednesday, July 14: 2:45pm-4:15pm ET; 5pm-6pm EI
Thursday, July 15: 4:15pm-5pm ET


If none of those work, I have some time on Friday, July 16 and we can always discuss the following week.


Thanks so much!
Eric




From: Kevin Kane
Sent: Wednesday, July 7, 2021 4:51 PM
To: Waldo, Eric (HHS/OASH)
Cc:                        Kyla Fullenwider
Subject: Re: Connecting with Dr. Murthy's office


Hi Eric -


It's great toe-meet you as well. ff possible, I wanted to include a few of my colleagues for this conversation
and see if you had any availability next Wednesday or Thursday to meet. Would you happen to have any
time open either of those days? If not, rm more than happy to find another day that would work for you.


Thank you for reaching out and look forward to speaking with you soon!


Best Regards,


Kevin




                                                                                       MOLA_DEFSPROD_00007440
                                            CONFIDENTIAL
   Case 3:22-cv-01213-TAD-KDM
          Case 3:23-cv-03880-TLT Document
                                  Document210-9 Filed08/09/23
                                           7-1 Filed  03/04/23 Page
                                                                Page82
                                                                     3 of
                                                                       of 4139
                                                                            PageID #:
                                       15152


On Tue, Jul 6, 2021 at 9:49 AM Waldo, Eric (HHS/OASH)                               wrote:
Hi Alexandra and Kevin,


I hope this finds you well. I'm Dr. Murthy's Director of Engagement and I wanted to reach out.


 As you know, one of the issues Dr. Murthy has been thinking about is how to help stop the spread of health
 misinformation as we continue to tackJe COVID19 and beyond. I know you and your teams are working
 hard and thinking deeply about this issue. We'd love to chat over zoom to connect and discuss what's on the
 horizon for our teams.


Is there a good time this week to connect? Happy to work with whomever on your team to coordinate
calendars.


Thanks so much!
Eric




Eric W. Waldo [He/Him]
Director of Engagement
 Office of the U.S. Surgeon Generai Dr. Vivek Murthy
U.S. Department of Health & Human Services




                Government Affairs & Public Policy Manager,
YouTube I




                                                                                  MOLA_DEFSPROD_00007441
                                              CONFIDENTIAL
     Case 3:22-cv-01213-TAD-KDM
            Case 3:23-cv-03880-TLT Document
                                    Document210-9 Filed08/09/23
                                             7-1 Filed  03/04/23 Page
                                                                  Page83
                                                                       4 of
                                                                         of 4139
                                                                              PageID #:
                                         15153




                    Government Affairs & Public Policy Manager,
  YouTube I




 Kevin Kane I Government Affairs & Public Policy Manager,
 YouTube I




!Kevin Kane   II   Government Affairs & Public Policy Manager,!
YouTube I




                                                                       MOLA_DEFSPROD_00007442
Case 3:23-cv-03880-TLT Document 7-1 Filed 08/09/23 Page 84 of 139




                     EXHIBIT J
                                                 CONFIDENTIAL
        Case 3:22-cv-01213-TAD-KDM
                Case 3:23-cv-03880-TLTDocument
                                       Document210-26 Filed08/09/23
                                                 7-1 Filed  03/04/23 Page
                                                                      Page851 of
                                                                              of 139
                                                                                 1 PageID #:
                                             15479


From:         Kevi n Kane ~      googl e.com]
Sent:         9/29/202 112:56:30 PM
To:           Wa ldo, Eric (HHS/CASH) -      @hhs.gov]          gma il .com
CC:           Jan Anton aros ~               om]
Subject :     YouTube VaccinePolicyAnnouncement



Good Afternoon -
I'm writing to share an update we recently made to YouTube' s policies pertaining to vaccine-related
misinformation.

Today we have a COVID-19 Vaccine misinfo policy which allows us to remove a limited list of verified
false claims about COVID-19 vaccines.

We just announced that we will be introducing a new policy that prohibits content that includes
harmful misinformation about the safety, efficacy, or ingredients for currently administered vaccines
that are approved and confirmed to be safe and effective by local health authorities and by the World
Health Organization (WHO).

You can learn more about the announcement we made here and a detailed overview of our policy in
our help center here.

Please let me know if you have any questions.

Best Regards,
Kevin




!Kevin KaneII Government Affairs Public Policy Manager,!
                                        &

IYouTube II-                    if




                                                                               MOLA_DEFSPROD_00007422
Case 3:23-cv-03880-TLT Document 7-1 Filed 08/09/23 Page 86 of 139




                      EXHIBIT K
                                              CONFIDENTIAL
  Case 3:22-cv-01213-TAD-KDM
          Case 3:23-cv-03880-TLTDocument
                                 Document210-39 Filed08/09/23
                                           7-1 Filed  03/04/23 Page
                                                                Page871 of
                                                                        of 139
                                                                           2 PageID #:
                                       15531




                                 OFFICE OF THE SURGEON GENERAL
                                              March 3, 2022

Sundar Pichai
Chief Executive Officer
Goo le, Inc.



Dear Mr. Pichai,

I hope this letter finds you well.

As you know, the proliferation of health misinformation during the pandemic has been both extensive
and dangerous. Over the last year I've spoken with health care and public health workers across the
country about how health misinformation is harming their ability to care for patients, contributing to
burnout, and posing a growing threat to the nation's health. It is clear that we must do everything we can
to address this threat. We also owe a debt of action to the doctors, nurses, and public health
professionals who have sacrificed so much for us throughout this pandemic.

To this end, my oflice issued a Surgeon General's Advisory on Health Misinformation in July 2021,
calling for action across all sectors of society to address the spread of health misinformation. Given that
a large proportion of health misinformation is spread through technology platforms, my Advisory
includes a call for technology companies to join this broader effort to create a healthier, safer
information environment.

My office is launching an initiative to deepen our understanding of the spread of COVID-19
misinformation, the role the information environment played in societal response to the pandemic, and
its implications for future public health emergencies. We are issuing a public Request for Information
(RF!) to gather and share data and research on health misinformation during the COVID-19 pandemic,
including the unique role that technology and social media platform s play in the dissemination of critical
health information during a public health emergency. We will share what we learn through the RFI
directly with the public at surgeongeneral.gov/RFI.

I am writing today to request that your company contribute to the RFI. To date, our collective
understanding of the nature of misinformation that is spreading online is incomplete which in tum
hinders our nation's ability to implement a robust, effective response. Specifically, I am requesting
responses from companies about the extent and spread of COVID-19 misinformation on
their technology platform s, policies to address COVID-19 misinformation and their effectiveness,
sources of COVID-19 misinformation, and information about the sale of unproven COVID-19 products
or services.




                                                                                     MOLA_DEFSPROD_000074 77
                                             CONFIDENTIAL
 Case 3:22-cv-01213-TAD-KDM
         Case 3:23-cv-03880-TLTDocument
                                Document210-39 Filed08/09/23
                                          7-1 Filed  03/04/23 Page
                                                               Page882 of
                                                                       of 139
                                                                          2 PageID #:
                                      15532




I hope that all of us---- researchers, companies, members of the health care community, civic leaders,
families, and concerned Americans alike - can work together to protect people's right to make decisions
about health based on accurate information. I remain confident that through our collective eff01is, we
can address the harms of health misinformation and safeguard the health of the nation.

Thank you for your cooperation and partnership on this critical public health matter.

Sincerely,




Vivek Murthy, l'VfD, IvIBA
Surgeon General of the United States




                                                                                    MOLA_DEFSPROD_00007 4 78
Case 3:23-cv-03880-TLT Document 7-1 Filed 08/09/23 Page 89 of 139




                      EXHIBIT L
Case 3:22-cv-01213-TAD-KDM
        Case 3:23-cv-03880-TLTDocument 205-1
                                Document 7-1 Filed
                                             Filed 03/03/23
                                                   08/09/23 Page
                                                            Page 190ofof334
                                                                         139PageID #:
                                      10945
                             CAROL CRAWFORD 11/15/2022
                                                                              Page 1


        1                IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF LOUISIANA
        2                          MONROE DIVISION
        3     STATE OF MISSOURI ex
              rel. ERIC S. SCHMITT,
        4     Attorney General,
              et al.,
        5                                        No. 3:22-cv-01213-TAD-KDM
                     Plaintiffs,
        6
              vs.
        7
              JOSEPH R. BIDEN, JR.,
        8     in his official capacity
        9     as President of the United
      10      States, et al.,
      11             Defendants.
      12
      13            THE VIDEOTAPED DEPOSITION OF CAROL CRAWFORD
      14                             November 15, 2022
      15                          9:24 a.m. to 5:33 p.m.
      16
                             Office of General Counsel
      17             Centers for Disease Control and Prevention
                                1600 Clifton Road NE
      18                          Atlanta, Georgia
      19
             Reporter:
      20                    Maureen S. Kreimer, CCR-B-1379, CRR
      21
      22
      23
      24
      25



                                    LEXITAS LEGAL
     www.lexitaslegal.com         Phone: 1.800.280.3376             Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM   Document
         Case 3:23-cv-03880-TLT       205-1
                                Document 7-1 Filed
                                              Filed03/03/23
                                                    08/09/23 Page
                                                              Page179
                                                                   91 of
                                                                      of 334
                                                                         139 PageID #:
                                      11123
                              CAROL CRAWFORD 11/15/2022
                                                                             Page 179


         1    I interpreted the "check in first."
         2            Q.     And by this time were you already having
         3    regular meetings with Google like we've seen with
         4    Facebook?
         5            A.     Yeah.    This was in 2021.        So we had been
         6    meeting pretty regularly with Google by this time.
         7                   MR. VECCHIONE:       Okay.      You can put that
         8    aside.
         9                   (Plaintiffs' Exhibit 29 marked.)
       10     BY MR. VECCHIONE:
       11             Q.     Let's try Exhibit 29.           Same thing, read me
       12     the subject line, the date, and then take a look at
       13     it.
       14             A.     Okay.    Okay.    Subject line's:      Followup on
       15     misinformation, or misinfo conversation.                It's
       16     4/5/2021.
       17                    THE WITNESS:      Can I see this?
       18                    MS. SNOW:     Yes.
       19             A.     Okay.
       20     BY MR. VECCHIONE:
       21             Q.     All right.      So can you go to the very end,
       22     I guess, the very last page, read what you said on
       23     March 29 at 9:52.
       24             A.     "Are you all open to using our regular 4pm
       25     meetings to go over things with Census, or what is



                                       LEXITAS LEGAL
      www.lexitaslegal.com           Phone: 1.800.280.3376          Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM   Document
         Case 3:23-cv-03880-TLT       205-1
                                Document 7-1 Filed
                                              Filed03/03/23
                                                    08/09/23 Page
                                                              Page180
                                                                   92 of
                                                                      of 334
                                                                         139 PageID #:
                                      11124
                              CAROL CRAWFORD 11/15/2022
                                                                           Page 180


         1    preferred?       I wasn't clear how interested you all
         2    were on this effort or who the players are on your
         3    end."
         4            Q.     So what were the regular 4:00 p.m.
         5    meetings you refer to?
         6            A.     I think -- because I still have a
         7    4:00 p.m. meeting every other Monday with Google.                   I
         8    think that these were the same every-other-week
         9    check-in meetings.          Sometimes we wouldn't have them.
       10     Sometimes we would have them and discuss things.
       11             Q.     Did you have similar regular meetings with
       12     the other platforms we've been discussing, Face- --
       13     Meta and Twitter?
       14             A.     We -- you asked some of this earlier.
       15             Q.     I did.
       16             A.     The same answer.       So we had regular
       17     meetings with Google, and we had regular meetings
       18     with Meta.      Most -- you know, the frequency changed.
       19     So, you know, I don't meet as often.              I mean, Google
       20     we meet every other week.            Right now with Meta it's
       21     more ad hoc.
       22             Q.     Okay.
       23             A.     We had had a regular meeting with
       24     Pinterest for a short period of time, and we had my
       25     memory was just more ad hoc meetings on occasion



                                       LEXITAS LEGAL
      www.lexitaslegal.com           Phone: 1.800.280.3376          Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM   Document
         Case 3:23-cv-03880-TLT       205-1
                                Document 7-1 Filed
                                              Filed03/03/23
                                                    08/09/23 Page
                                                              Page181
                                                                   93 of
                                                                      of 334
                                                                         139 PageID #:
                                      11125
                              CAROL CRAWFORD 11/15/2022
                                                                           Page 181


         1    with Twitter.
         2            Q.     So on the regular meetings with either
         3    Google or Facebook?
         4            A.     Mm-hmm (affirmative).
         5            Q.     Well, let me ask the question this way.
         6    From the CDC end, were the same people usually
         7    attending those meetings with each social media?
         8            A.     It could vary.     I mean, I was always -- I
         9    mean, with Google, it was typically me and Fred
       10     Smith, who's our technical lead, because often the
       11     Google questions would be more about technical
       12     implementations that we might have to work on.                  We
       13     were usually always on it.           Sometimes I would --
       14     depending on the subject, I would bring in other
       15     people.
       16                    With Meta, I was pretty much always on
       17     there.     Jay typically listened in.           And then I would
       18     bring people in depending on the subject.
       19             Q.     All right.    And what were the -- were the
       20     topics typically misinformation, or technical
       21     subjects?
       22             A.     They -- by and large, they were mostly
       23     about things other than misinformation; though
       24     misinformation was discussed in the meetings.                 But
       25     they were originated about getting our credible



                                     LEXITAS LEGAL
      www.lexitaslegal.com         Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM   Document
         Case 3:23-cv-03880-TLT       205-1
                                Document 7-1 Filed
                                              Filed03/03/23
                                                    08/09/23 Page
                                                              Page241
                                                                   94 of
                                                                      of 334
                                                                         139 PageID #:
                                      11185
                              CAROL CRAWFORD 11/15/2022
                                                                           Page 241


         1    or what the format, or Microsoft Teams, or in
         2    person, or?
         3            A.     It was always on either teams or they had
         4    BlueJeans that we used occasionally.
         5            Q.     Okay.    What's BlueJeans?
         6            A.     It's something like a Teams or a Zoom.
         7            Q.     Okay.    And, once again, do you know if
         8    there is any notes or record kept of the meeting?
         9            A.     I did not take any notes at the meeting
       10     that I recall.         I mean, same answer I have been
       11     giving.      If there were any, it was minor and they
       12     would have been in Word or email.
       13             Q.     Okay.
       14                    MR. VECCHIONE:       40.
       15                    MR. GILLIGAN:      I remember when everybody
       16     just used Skype when it was simpler times.
       17                    (Plaintiffs' Exhibit 40 marked.)
       18     BY MR. VECCHIONE:
       19             Q.     Exhibit 40.      Once again the date and the
       20     subject line, and then read it to yourself.
       21             A.     Subject line:      COVID BOLO meetings on
       22     misinformation, sent on May 10, 2021.
       23                    Okay.
       24             Q.     All right.      Let's go back to the back page
       25     of this that's Bates number 682.



                                       LEXITAS LEGAL
      www.lexitaslegal.com           Phone: 1.800.280.3376          Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM   Document
         Case 3:23-cv-03880-TLT       205-1
                                Document 7-1 Filed
                                              Filed03/03/23
                                                    08/09/23 Page
                                                              Page242
                                                                   95 of
                                                                      of 334
                                                                         139 PageID #:
                                      11186
                              CAROL CRAWFORD 11/15/2022
                                                                           Page 242


         1            A.     Okay.
         2            Q.     Now, this is -- I think we've said this
         3    date.    It's May 10th of 2021?
         4            A.     Yes.
         5            Q.     And you send to Facebook the COVID BOLO
         6    misinformation meeting request; right?
         7            A.     Yes.
         8            Q.     And could you please read that for me?
         9            A.     (As read)     We would like to establish
       10     COVID BOLO meetings on misinformation and invite all
       11     platforms to join the meetings.                We are aiming for
       12     the first one on Friday at noon.               I know you were
       13     considering a possible process on your end, but we
       14     wanted to start here just as an interim first step.
       15     Are there direct POCs on your end I should include
       16     on the invite?         I'm happy to chat if better, thanks.
       17             Q.     All right.      Now, so this is the first BOLO
       18     meeting.       Does that comport with your recollection?
       19             A.     This is a note that I'm about to send an
       20     appointment for the first BOLO meeting and asking
       21     them who to include.
       22             Q.     All right.      And we've already said POCs --
       23             A.     Yes.
       24             Q.     -- are the point of contacts; right?
       25             A.     Mm-hmm (affirmative).



                                       LEXITAS LEGAL
      www.lexitaslegal.com           Phone: 1.800.280.3376          Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM   Document
         Case 3:23-cv-03880-TLT       205-1
                                Document 7-1 Filed
                                              Filed03/03/23
                                                    08/09/23 Page
                                                              Page243
                                                                   96 of
                                                                      of 334
                                                                         139 PageID #:
                                      11187
                              CAROL CRAWFORD 11/15/2022
                                                                           Page 243


         1            Q.     And you said:      "I know you are considering
         2    possible process on your end."
         3                   What did you mean by that?
         4            A.     As I mentioned, that I was engaging with
         5    the platform saying what format would be best for us
         6    to talk about this.          And I think there were
         7    references in the exhibit a couple of times where
         8    they said they were thinking internally about what
         9    would be best.         So I think I was just referencing
       10     that I knew that they were considering it as well.
       11             Q.     Do you know what the topics -- did you
       12     know what the topics for the BOLO were when you sent
       13     this out?
       14             A.     I don't know if I did or not.
       15             Q.     All right.      Let's go to the next page back
       16     where we have -- I believe this is from Jan
       17     Antonaros to you, but he includes your email to him;
       18     right?
       19             A.     This -- the bottom part --
       20             Q.     Mm-hmm (affirmative).
       21             A.     -- is where I sent a similar note to
       22     Google, which is Jan.
       23             Q.     Okay.
       24             A.     And I was telling her that we would like
       25     to invite the digital platforms to attend the BOLO.



                                       LEXITAS LEGAL
      www.lexitaslegal.com           Phone: 1.800.280.3376          Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM   Document
         Case 3:23-cv-03880-TLT       205-1
                                Document 7-1 Filed
                                              Filed03/03/23
                                                    08/09/23 Page
                                                              Page244
                                                                   97 of
                                                                      of 334
                                                                         139 PageID #:
                                      11188
                              CAROL CRAWFORD 11/15/2022
                                                                           Page 244


         1    I think it was me sending the appointment or a
         2    heads-up that it was coming.             I can't -- it looks
         3    like maybe I -- this is an actual appointment.
         4            Q.     Okay.
         5            A.     But I tried to send each of them a
         6    personal note that we were doing it.
         7            Q.     And in this one you actually spelled out
         8    be on the lookout; right?
         9            A.     I did.
       10             Q.     And was that because you hadn't discussed
       11     it with them before, or did you have some concern
       12     they wouldn't know what it was?
       13             A.     I don't know why I didn't do it that time.
       14             Q.     All right.      And there is Kevin Kane here
       15
       16
       17
              with the email address
              that?
                      A.
                                              -        @Google.com.


                             I don't remember Kevin, but this indicates
                                                                        Who is




       18     that he was from YouTube.
       19             Q.     Okay.    And do you recall having
       20     discussions with YouTube?
       21             A.     YouTube would occasionally -- people from
       22     YouTube would occasionally be on our regular
       23     meetings, depending on what we talked about.                 And
       24     because YouTube has the most content, like, hosting,
       25     they -- they were at the -- they were a part of the



                                       LEXITAS LEGAL
      www.lexitaslegal.com           Phone: 1.800.280.3376          Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM   Document
         Case 3:23-cv-03880-TLT       205-1
                                Document 7-1 Filed
                                              Filed03/03/23
                                                    08/09/23 Page
                                                              Page245
                                                                   98 of
                                                                      of 334
                                                                         139 PageID #:
                                      11189
                              CAROL CRAWFORD 11/15/2022
                                                                            Page 245


         1    BOLO meetings, I believe, that Kevin attended
         2    probably, or someone from YouTube did.
         3            Q.     And you responded:        "Great.    I was going
         4    to ask about Kevin."
         5            A.     Yeah.    Maybe I remembered who Kevin was at
         6    the time.
         7            Q.     Okay.    And then finally the front page.
         8            A.     That's a repeat of -- oh, no, that's not.
         9    I apologize.          I'm looking at the wrong one.
       10             Q.     And here you're sending this to the Google
       11     folks?
       12             A.     Yes.
       13             Q.     Why don't you read it for the record?
       14             A.     "We would like to establish COVID BOLO
       15     meetings on misinformation and invite all platforms
       16     to join the meetings.           We were aiming for the first
       17     one on Friday at noon.           We heard through the
       18     grapevine that Kevin Cain at YouTube would want to
       19     join.    Are there other POCs on your end I should
       20     include on the invite?"
       21             Q.     All right.      You said YouTube.      Who's
       22     YouTube related to, is it Google or Facebook?
       23             A.     YouTube is a Google property.
       24             Q.     Okay.
       25             A.     Or platform.



                                       LEXITAS LEGAL
      www.lexitaslegal.com           Phone: 1.800.280.3376          Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM   Document
         Case 3:23-cv-03880-TLT       205-1
                                Document 7-1 Filed
                                              Filed03/03/23
                                                    08/09/23 Page
                                                              Page246
                                                                   99 of
                                                                      of 334
                                                                         139 PageID #:
                                      11190
                              CAROL CRAWFORD 11/15/2022
                                                                           Page 246


         1            Q.     And is it your recollection that you did
         2    have a meeting on Friday?
         3            A.     I think we did, but I don't have the exact
         4    date.    But I believe we had -- that's when we had
         5    the first BOLO meeting.
         6            Q.     All right.      And do you have any list of
         7    who actually showed up and was an attendee?
         8            A.     No.
         9            Q.     All right.      And, once again, it would be
       10     on your calendar as far as if it happened?
       11             A.     Now, to clarify I don't remember keeping a
       12     list of who attended.           Maybe Census might have
       13     because this is something they were arranging.                  But
       14     I don't recall it being sent to me.              It could have
       15     been, but I don't believe so.
       16             Q.     So they were helping you arrange this
       17     because they'd done it before, this particular
       18     meeting?
       19             A.     Yes.    I mean, I mentioned that they
       20     drafted the slides.
       21             Q.     Right.
       22             A.     And, you know, Chris participated in the
       23     meeting.
       24             Q.     Okay.    Chris.    Remind me his last name?
       25             A.     Lewinsky, Lewitzke.



                                       LEXITAS LEGAL
      www.lexitaslegal.com           Phone: 1.800.280.3376          Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM    Document
         Case 3:23-cv-03880-TLT        205-1
                                 Document 7-1 Filed
                                               Filed03/03/23
                                                     08/09/23 Page
                                                               Page254
                                                                    100ofof334
                                                                            139PageID #:
                                       11198
                              CAROL CRAWFORD 11/15/2022
                                                                             Page 254


         1    had one.
         2            Q.     So the email states that --
         3                   You can put that aside.
         4                   (Plaintiffs' Exhibit 43 marked.)
         5    BY MR. VECCHIONE:
         6            Q.     Let's go to -- yeah, let's go to the last,
         7    43.
         8                   Once again for Exhibit 43 please state the
         9    subject matter line, and then the -- and who it --
       10     what the date of it is?
       11             A.     Subject:     Claims review.       6/29/2022.
       12                    I have read it.
       13             Q.     Okay.    So can you read the -- well, who is
       14     Rachel Gruner?
       15             A.     She is my new point of contact at Google.
       16     She replaced Jan Antonaros.
       17             Q.     And who's Lindsay Steele?
       18             A.     Lindsay Steele replaced Stanley.
       19             Q.     Onyimba?
       20             A.     "O".
       21             Q.     Okay.    And they're both -- their emails
       22     are here in the to line; right?
       23             A.     Yes.
       24             Q.     All right.      And if you could read the
       25     after Hi, Carol, Hi, Fred from Rachel, what does she



                                       LEXITAS LEGAL
      www.lexitaslegal.com           Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM    Document
         Case 3:23-cv-03880-TLT        205-1
                                 Document 7-1 Filed
                                               Filed03/03/23
                                                     08/09/23 Page
                                                               Page255
                                                                    101ofof334
                                                                            139PageID #:
                                       11199
                              CAROL CRAWFORD 11/15/2022
                                                                             Page 255


         1    say here?
         2            A.     "The YouTube policy team is requesting
         3    evidence-based input on the claims below.                  In the
         4    past, the CDC has reviewed COVID information claims
         5    and commented true or false plus any additional
         6    context needed."
         7            Q.     And then what are the claims?
         8            A.     (As read)     Claim:     High dosage of
         9    progesterone is a safe method of reversing chemical
       10     abortion, in parentheses, mifepristone and
       11     misoprostol.
       12                    Sorry.
       13                    (As read)     Claim:     High doses of
       14     progesterone is an effective method of reversing
       15     chemical abortion, in parentheses, mifepristone and
       16     misoprostol.
       17             Q.     All right.
       18             A.     "Please let me know if you have questions
       19     or concerns."
       20             Q.     And then what -- how do you respond?
       21             A.     "I'll check on this, but I think I'll
       22     probably end up needing to refer you to another
       23     agency.      I'll get back to you."
       24             Q.     So this -- this -- is it your
       25     understanding this didn't have anything to do with



                                      LEXITAS LEGAL
      www.lexitaslegal.com          Phone: 1.800.280.3376             Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM    Document
         Case 3:23-cv-03880-TLT        205-1
                                 Document 7-1 Filed
                                               Filed03/03/23
                                                     08/09/23 Page
                                                               Page256
                                                                    102ofof334
                                                                            139PageID #:
                                       11200
                              CAROL CRAWFORD 11/15/2022
                                                                             Page 256


         1    COVID-19 or vaccines?
         2            A.     It definitely didn't have anything to do
         3    with COVID-19 or vaccines.
         4            Q.     Do you know why it was sent to you?
         5            A.     Well, as COVID's -- our focus is not
         6    solely on COVID.         We're focusing on other topics.             I
         7    think Rachel thought that we might be able to help
         8    with this topic as well.
         9            Q.     Okay.    Do you know who you sent it, what
       10     agency you sent it to, if any?
       11             A.     I -- I didn't know.        I called one of our
       12     centers and asked if this was something that CDC
       13     dealt with.       I didn't think that we did, and they
       14     confirmed that we do not.            And I don't think they
       15     had a suggestion on where to refer this to, but I
       16     can't recall for sure.
       17                    MR. VECCHIONE:       All right.      I would like
       18     to take a brief break and have the court reporter
       19     put my last exhibit together and give you copies
       20     and then --
       21                    MR. GILLIGAN:      There is a 44, too?
       22                    MR. VECCHIONE:       -- confer, confer with
       23     counsel, and I think we'll be finishing up.
       24                    (Comments off the record.)
       25                    THE VIDEOGRAPHER:        Off the record at 5:07.



                                       LEXITAS LEGAL
      www.lexitaslegal.com           Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM    Document
         Case 3:23-cv-03880-TLT        205-1
                                 Document 7-1 Filed
                                               Filed03/03/23
                                                     08/09/23 Page
                                                               Page270
                                                                    103ofof334
                                                                            139PageID #:
                                       11214

                                CAROL CRAWFORD 11/15/2022
                                                                                       Page 270


         1                                             C E R T I F I C A T E

         2        STATE OF GEORGIA:

         3        DEKALB COUNTY:
         4                                  I, Maureen S. Kreimer, a Certified Court

         5        Reporter for the State of Georgia, before whom the

         6        foregoing deposition was taken, do hereby certify:

         7                                  That CAROL CRAWFORD, the witness whose

         8        deposition is hereinbefore set forth in pages 1 to 269,

         9        was duly sworn by me and that such deposition is a true

        10        record of t~e testimony given by the witness.
                                • ,_1   •   • • • ..




        11                                  I further certify that I am not related to

        12        any of the parties to this action by blood or marriage,

        13        and that I am in no way interested in the outcome of this

        14        matter.
        15                                  IN WITNESS HEREOF, I have hereunto set my

        16         hand this 18th day of November, 2022 .

        17

        18

        19

        20

        21

        22                                   MAUREEN S. KREIMER, CCR-B-1379

        23                                   Notary Public in and for the

        24                                   State of Georgia.        My Commission

        25                                   Expires August 14, 2024.




                                                    LEXITAS LEGAL
       )N'NW.lexitaslegal.com                     Phone: 1.800.280.3376          Fax: 314.644.1334
Case 3:23-cv-03880-TLT Document 7-1 Filed 08/09/23 Page 104 of 139




                       EXHIBIT M
Case 3:22-cv-01213-TAD-KDM
       Case 3:23-cv-03880-TLT Document
                               Document205-40  Filed
                                        7-1 Filed    03/03/23Page
                                                   08/09/23    Page 1 of
                                                                  105 of 3139
                                                                           PageID #:
                                                                           PLAINTIFF'S
                                     11401
                                  CONFIDENTIAL                               EXHIBIT
                                                                                                                   lie
From :

Sent :        S/10/202 1 12:42 :S0 PM
To:           Stanley Onyimba         @google.com];Jan Antonaros                @googl e.com)
Subject :     COVID BOLO meetings on misinformatio n



We would like to establish COVI D BOLO meetings on mis information and i nvite al l platforms to join the meetings. We
are aimi ng fo r ou r first one on Friday at noon. We have heard t hrough the grapevine t hat Ke vin Cai n at YouTube w ould
want t o joi n. Are the re other POCs on your end I shoul d include on the invit e?




                                                                                                MOLA_DEFSPR00 _00002683
Case 3:22-cv-01213-TAD-KDM
       Case 3:23-cv-03880-TLT Document
                               Document205-40  Filed
                                        7-1 Filed    03/03/23Page
                                                   08/09/23    Page 2 of
                                                                  106 of 3139
                                                                           PageID #:
                                     11402
                                  CONFIDENTIAL




From:          Crawford, Carol Y. (COC/00/0ADC)

Sent:          S/11/20213:55 :11 PM
To:           Jan Antonaros■■■J@google.com);Kevin Kane              (:lgoogl e.com)
Subject:      RE: COVID 19 BOLO Meeting



Great- I was going to ask about Kevin at 4. ©



From: Jan Antonarosllllllllllll@google.com>
Sent: Tuesday, May 11, 2021 3:51 PM
To: Crawford,carolY. (CDC/OD/OADC)-@cdc.gov>; Kevin Kane-@googte.com>
Subject: Re: COVID19 BOLO Meeting

Hi Carol, Could you please add +Kevin Kane fromourYouTube team to the call below?Thankyoul



Jan Fowler Antonaros
Google Government Affairs and Public Policy
25 Mass Ave NW, 9th FL
Washington, DC20001
          @google.com
Android Mobilellllllllllllll


On Tue, May 11, 2021 at 3:25 PM Crawford, Carol Y. {CDC/OD/OADC)~>wrote:
 We would like to invite digital platforms to attend ashort"Be On The Lookout'' meeting on COVID. Let us know if you
 have questions and feel free to forward this message to anyone in your organization that should attend.


 Thank you.


 Carol Crawford
 Chief, Digital Media Branch
 Division of Public Affairs
 OADC
           @cdc.gov




 Join ZoomGov Meeting




 Dial by your location




                                                                                          MOLA_DEFSPROD_00002663
Case 3:22-cv-01213-TAD-KDM
       Case 3:23-cv-03880-TLT Document
                               Document205-40  Filed
                                        7-1 Filed    03/03/23Page
                                                   08/09/23    Page 3 of
                                                                  107 of 3139
                                                                           PageID #:
                                     11403
                                  CONFIDENTIAL




From:         Crawford, Carol Y. (CDC/0D/OADC)

Sent:         S/10/202112:44:41 PM
To:           Payton lheme-@fb.com); GenelleAdri                      @fb.com)
Subject:      COVID BOLO Misinformation meetings



We would like to establish COVI0 BOLO meetings on misinformation and invite all platforms to join the meetings. We
are aimingforourfirstone on Friday at noon. I know you were considering possible process on your end, but we
wanted start here just as interim first step. Are there direct POCs on your end I should include on the invite? Happy
to chat if better.

THANKS !




                                                                                           MOLA_DEFSPROD_00002682
Case 3:23-cv-03880-TLT Document 7-1 Filed 08/09/23 Page 108 of 139




                       EXHIBIT N
Case 3:22-cv-01213-TAD-KDM
       Case 3:23-cv-03880-TLT Document
                               Document205-43  Filed
                                        7-1 Filed    03/03/23Page
                                                   08/09/23    Page 1 of
                                                                  109 of 1139
                                                                           PageID #:
                                     11409
                                  CONFIDENTIAL
                                                                           PLAINTIFF'S
                                                                                                                          EXHIBIT
                                                                                                                          Y'5
                                                                                                             I

From :               Crawford, Carol V. (CDC/0 0/0ADC)

Se nt:               6/29/2022 6:01 :54 PM
To:                  Rachel Gruner ■■■■l@google.com]; Smi th, Fred (CDC/0D/OADC) -            @cdc.gov]; LindsaySteel e
                                    @google.com]
Subject:             RE: Cl aims review



I' ll check on this but I think I'll probably end up needing to refer you to another agency. I'l l get back to you.



From : Rach el Gruner                        @google.com>
Se nt: Wednesday, June 29, 2022 4:38 PM
To: Crawford, Carol Y. ( CDC/OD/OADC) -              @cdc.gov>; Smit h, Fred (CDC/OD/OADC -         @cdc.gov>; Lindsay Steele
               @google.com>
Subject: Claims review

Hi Carol and Fred,

The You Tube Pol icy t eam is requesting evide nee-based input on the clai ms be I ow. In the past, t he CDC has reviewed
COVID informat ion claims and commented TRUEo r FALSE+ add any add it ional context needed.

CLAIM : High doses of progesterone is a safe method of reversing chemical abortion (rnifepristone & misoprostol)
CLAIM: High doses of progesterone is an effecti ve method of revers ing chemical abortion (mifepristone & misoprostol)

Please let me know if you have any questions or concerns .

Thanks, Rachel




 Ifxl    The linked ...
                                                           Rachel Gruner, MPH
                                                         Health Outreach Lead, Google

                                                         ~




                                                                                                     MOLA_ DEFSPROD_00001556
Case 3:23-cv-03880-TLT Document 7-1 Filed 08/09/23 Page 110 of 139




                       EXHIBIT O
Case 3:22-cv-01213-TAD-KDM
        Case 3:23-cv-03880-TLTDocument
                               Document204-1 Filed 08/09/23
                                         7-1 Filed 03/03/23 Page
                                                            Page 111
                                                                 1 of of
                                                                      386  PageID #:
                                                                         139
                                      10061
                                 ELVIS CHAN 11/29/2022
                                                                             Page 1


       1          IN THE UNITED STATES DISTRICT COURT
       2       FOR THE WESTERN DISTRICT OF LOUISIANA
       3                      MONROE DIVISION
       4                          ---o0o---
       5
       6
             STATE OF MISSOURI, et al.,                   )
       7                                                  )
                                   Plaintiff,             )
       8                                                  )
                       vs.                                )   Case No.
       9                                                  )   3:22-cv-01213
             JOSEPH R. BIDEN, JUNIOR, et                  )   -TAD-KDM
      10     al.,                                         )
                                                          )
      11                           Defendants.            )
                                                          )
      12
      13
      14
      15                          ---o0o---
      16               TUESDAY, NOVEMBER 29, 2022
      17      ZOOM VIDEOTAPED DEPOSITION OF ELVIS CHAN
      18                          ---o0o---
      19
      20
      21
      22
      23
      24     REPORTER: BALINDA DUNLAP, CSR 10710, RPR, CRR, RMR
      25



                                    LEXITAS LEGAL
     www.lexitaslegal.com         Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM
        Case 3:23-cv-03880-TLTDocument 204-1
                                Document  7-1 Filed
                                              Filed 03/03/23
                                                    08/09/23 Page
                                                             Page 23
                                                                  112ofof386
                                                                          139PageID #:
                                       10083
                                 ELVIS CHAN 11/29/2022
                                                                             Page 23


        1     But I understand that Mr. Sur is defending the
        2     deposition, not Mr. Berger.           So if you've got an
        3     issue, I don't mind if you guys want to talk about
        4     it, but I don't want to have multiple -- multiple
        5     attorneys objecting and instructions being started.
        6     Can we proceed on that basis from now on?
        7                 MR. SUR:     We intend to do so.         There my be
        8     some exceptional circumstances that warrant a
        9     different approach, but that's how we expect to
       10     proceed.
       11                 MR. SAUER:      I am fine to hear that.          You
       12     know, if things come up that raise an issue, you
       13     know, we can -- we can raise them.              But, yeah,
       14     anyway, all right.        I mean, to be clear, you know,
       15     any law enforcement privilege is held by the
       16     government, not by Mr. Chan's personal capacity,
       17     and Mr. Sur is the one who is there to represent
       18     the government today.
       19          Q.     So -- but anyway, okay.          Mr. Chan, or
       20     Agent Chan, who do you recall on the social media
       21     platform side participating in these -- in these
       22     working group meetings that you have been
       23     testifying about from 2020 and 2022?
       24          A.     The companies that I remember attending
       25     the meetings are Facebook; Microsoft; Google;



                                     LEXITAS LEGAL
     www.lexitaslegal.com          Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM
        Case 3:23-cv-03880-TLTDocument 204-1
                                Document  7-1 Filed
                                              Filed 03/03/23
                                                    08/09/23 Page
                                                             Page 24
                                                                  113ofof386
                                                                          139PageID #:
                                       10084
                                 ELVIS CHAN 11/29/2022
                                                                             Page 24


        1     Twitter; Yahoo!, which may have been known as
        2     Verizon Media at the time; Wikimedia Foundation and
        3     Reddit.
        4          Q.     Do you remember any others at this time?
        5          A.     I think I listed seven.          I -- those were,
        6     like, the regular participants that I can remember.
        7          Q.     How about on the U.S. government side,
        8     what agencies were represented at these meetings?
        9          A.     At these meetings, CISA is the host and
       10     facilitator for the meeting.            They also invite
       11     another component of Department of Homeland
       12     Security called Intelligence and Analysis, I&A, so
       13     DHS I&A I know attends.          The Office of the Director
       14     of National Intelligence, ODNI, attends.                And then
       15     from the FBI there is typically a representative
       16     from the FBI's Foreign Influence Task Force, which
       17     you will hear me abbreviate as FITF regularly.                  And
       18     then I attend from FBI San Francisco when I am
       19     available.
       20          Q.     And why are you included in particular?
       21          A.     The reason that I attend these meetings is
       22     because the way the FBI works is FBI field offices
       23     are responsible for maintaining the day-to-day
       24     relationships with the companies that are
       25     headquartered in their area of responsibility,



                                     LEXITAS LEGAL
     www.lexitaslegal.com          Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM
        Case 3:23-cv-03880-TLTDocument 204-1
                                Document  7-1 Filed
                                              Filed 03/03/23
                                                    08/09/23 Page
                                                             Page 25
                                                                  114ofof386
                                                                          139PageID #:
                                       10085
                                 ELVIS CHAN 11/29/2022
                                                                             Page 25


        1     which I may occasionally abbreviate to AOR.                 And
        2     all of the companies that have been listed, with
        3     the exception of Microsoft, are all headquartered
        4     in FBI San Francisco's territory.
        5          Q.     Now, where is Microsoft headquartered?
        6          A.     They are headquartered in Redmond,
        7     Washington.
        8          Q.     And then on the CISA side in particular,
        9     what individuals participate in these meetings?
       10          A.     Typically there are senior-level -- what I
       11     believe are senior-level officials.              The two that I
       12     specifically remember are Matt Masterson and Brian
       13     Scully.
       14          Q.     Is that Matt Masterson, did you say?
       15          A.     Yeah.    Yeah, Matthew Masterson and Brian
       16     Scully are the two regular attendees.               And they are
       17     usually -- one or both of them -- one -- either one
       18     of them is usually emceeing the meeting.
       19          Q.     So Brian Scully, do you know him
       20     personally?
       21          A.     I know him just through work.
       22          Q.     Okay.    In what connection at work?
       23          A.     And I only know -- I only know
       24     Mr. Masterson through work as well.
       25          Q.     When you say you know him through work,



                                     LEXITAS LEGAL
     www.lexitaslegal.com          Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM
        Case 3:23-cv-03880-TLTDocument 204-1
                                Document  7-1 Filed
                                              Filed 03/03/23
                                                    08/09/23 Page
                                                             Page 26
                                                                  115ofof386
                                                                          139PageID #:
                                       10086
                                 ELVIS CHAN 11/29/2022
                                                                             Page 26


        1     did you work together on anything other than these
        2     meetings?
        3          A.     So we have met -- I want to say I have met
        4     in person with each of those individuals, twice in
        5     person; but they are primarily through either the
        6     preparatory calls for these meetings that they are
        7     hosting or the meetings themselves.
        8          Q.     So you work with CISA in preparatory calls
        9     for these industry working group meetings?
       10          A.     Yes.
       11          Q.     And in that connection, you've met Brian
       12     Scully and Matt Masterson, correct?
       13          A.     Yes.
       14          Q.     And Brian Scully is involved in kind of
       15     leading or emceeing these meetings; is that right?
       16                 MR. SUR:     Objection; vague.
       17          Q.     BY MR. SAUER:       Or is he the -- is he the
       18     leader of the meeting when it convenes?
       19          A.     For the 2020 election cycle, Mr. Masterson
       20     was the primarily -- he was primarily the
       21     facilitator.       Ahead of the 2022 midterm elections,
       22     Mr. Scully has been the primary facilitator.
       23          Q.     Was that because Mr. Masterson left CISA
       24     in the -- in the intervening time?
       25          A.     Yes.



                                     LEXITAS LEGAL
     www.lexitaslegal.com          Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM
        Case 3:23-cv-03880-TLTDocument 204-1
                                Document  7-1 Filed
                                              Filed 03/03/23
                                                    08/09/23 Page
                                                             Page 27
                                                                  116ofof386
                                                                          139PageID #:
                                       10087
                                 ELVIS CHAN 11/29/2022
                                                                             Page 27


        1          Q.     Do you know where he works now?
        2          A.     Yes.    I believe he works at Microsoft now.
        3          Q.     Do you -- do you interact with him now as
        4     a representative of a -- of a tech company?
        5                 MR. SUR:     Objection; vague.
        6                 THE WITNESS:      I have only interacted with
        7     him on two occasions.         One was when he showed up at
        8     one of the more recent industry meetings ahead of
        9     the 2022 midterm elections.           That is when I
       10     discovered that he went to Microsoft.               And then I
       11     asked him to send me his new contact information
       12     during the call, and then he sent me an email and
       13     provided me with his new contact information.
       14          Q.     BY MR. SAUER:       You work with CISA on these
       15     industry working group meetings to help prepare
       16     them, what's the nature of your involvement in
       17     preparing for these meetings?            Do you kind of set
       18     the agenda or -- you know, what's your involvement?
       19                 MR. SUR:     Objection; vague and compound
       20     and implicates the deliberative process privilege.
       21                 MR. SAUER:      Let me rephrase the question.
       22          Q.     Are you involved in preparing for these
       23     meetings?
       24          A.     No.    I participate in the preparation
       25     meetings, but I do not provide any agenda items.



                                     LEXITAS LEGAL
     www.lexitaslegal.com          Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM
        Case 3:23-cv-03880-TLTDocument 204-1
                                Document  7-1 Filed
                                              Filed 03/03/23
                                                    08/09/23 Page
                                                             Page 28
                                                                  117ofof386
                                                                          139PageID #:
                                       10088
                                 ELVIS CHAN 11/29/2022
                                                                             Page 28


        1          Q.     Do you remember anyone else at CISA
        2     besides Mr. Scully and Mr. Masterson who
        3     participates in these meetings?
        4          A.     I don't recollect any other people's names
        5     at this time.
        6          Q.     Were there others who participated in --
        7     but you just don't remember who they were?
        8          A.     Yes, that is correct.
        9          Q.     Okay.    Let me -- do you still have Exhibit
       10     1 on the screen in front of you, your thesis?
       11          A.     Yes.
       12          Q.     Okay.    Let me ask -- let's turn back to
       13     that for a little while.          And if we could, I am
       14     going to scroll ahead to your abstract on Page v.
       15     Can you see that clearly, Roman numeral v.
       16                 MR. SUR:     Roman numeral v.        Okay.
       17                 THE WITNESS:      Yes, I see it now.
       18          Q.     BY MR. SAUER:       And can you see it also on
       19     the screen share as well as on the iPad?                 I want to
       20     make sure you can see the document in both places
       21     as we go forward today.
       22          A.     I can see the bottom half of one
       23     paragraph, and then -- wait, now -- now I see --
       24     yeah, I see the bottom paragraph of the --
       25          Q.     Actually, can I -- can I direct your



                                     LEXITAS LEGAL
     www.lexitaslegal.com          Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM
        Case 3:23-cv-03880-TLTDocument 204-1
                                Document  7-1 Filed
                                              Filed 03/03/23
                                                    08/09/23 Page
                                                             Page 29
                                                                  118ofof386
                                                                          139PageID #:
                                       10089
                                 ELVIS CHAN 11/29/2022
                                                                             Page 29


        1     attention this sentence here in your abstract that
        2     I am highlighting?        I guess, actually, for context,
        3     if you see above -- actually, just focus on that
        4     sentence.     "This" -- you say, "This thesis finds
        5     that the Russians shifted their tactics from 2016
        6     to 2020," right?
        7          A.     Correct.
        8          Q.     And then you say, "Still, the U.S.
        9     government and social media companies effectively
       10     impeded their influence campaigns primarily through
       11     information sharing and account takedowns,
       12     respectively," correct?
       13          A.     Correct.
       14          Q.     What do you mean by "information sharing"
       15     here?
       16          A.     So "information sharing" is meant --
       17     there -- as I mentioned previously, there are two
       18     types of information that the U.S. government,
       19     specifically the FBI, shares with the social media
       20     companies.      The first type of information, the
       21     strategic information, which discusses the tools,
       22     tactics or processes, shortened to be TPPs, used by
       23     the Russians.
       24                 The second type of information shared by
       25     the U.S. government is tactical information.                 And



                                     LEXITAS LEGAL
     www.lexitaslegal.com          Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM
        Case 3:23-cv-03880-TLTDocument 204-1
                                Document  7-1 Filed
                                              Filed 03/03/23
                                                    08/09/23 Page
                                                             Page 30
                                                                  119ofof386
                                                                          139PageID #:
                                       10090
                                 ELVIS CHAN 11/29/2022
                                                                             Page 30


        1     when I mean tactical information, I specifically
        2     mean indicators or selectors.            And both of those
        3     are a term of art within the cybersecurity
        4     industry.     And indicators or selectors include IP
        5     addresses, email accounts, social media accounts,
        6     well, website domain names, and, like, file hash
        7     values.
        8          Q.     Sorry.     Say the last thing.         What kind of
        9     hash values?
       10          A.     File, like electronic file hash values.
       11          Q.     Okay.    And so, yeah, I take it the
       12     strategic information is kind of high-level advice
       13     to the social media platforms about, you know, the
       14     kinds of -- kinds of campaigns the Russians might
       15     be conducting; is that fair to say?
       16                 MR. SUR:     Objection; lacks foundation.
       17                 THE WITNESS:      I would not -- I would not
       18     characterize the information we share as advice.
       19          Q.     BY MR. SAUER:       Okay.    Then in that case it
       20     is sort of -- is it high-level general information
       21     about what FBI understands the Russians are
       22     engaging in when it comes to social media influence
       23     campaigns?
       24                 MR. SUR:     Objection; lacks foundation.
       25                 THE WITNESS:      Yes.



                                     LEXITAS LEGAL
     www.lexitaslegal.com          Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM
        Case 3:23-cv-03880-TLTDocument 204-1
                                Document  7-1 Filed
                                              Filed 03/03/23
                                                    08/09/23 Page
                                                             Page 31
                                                                  120ofof386
                                                                          139PageID #:
                                       10091
                                 ELVIS CHAN 11/29/2022
                                                                             Page 31


        1          Q.     BY MR. SAUER:       And then -- go ahead.
        2     Sorry.    Go ahead.
        3          A.     I can provide an example if that would be
        4     illustrative.
        5          Q.     That would be super helpful.            Please do.
        6          A.     I had the 2020 elections, through our
        7     investigation of the Internet Research Agency, we
        8     discovered that they were trying to set up a base,
        9     as it were, or set up offices in western Africa.
       10     We shared this type of strategic information with
       11     the social media companies.           They were able to use
       12     whatever detection methods they have to discover
       13     that there were Russian troll farms being set up
       14     specifically in Ghana and Nigeria.
       15          Q.     Okay.    And so you mentioned earlier that
       16     tactical -- that would be strategic information?
       17          A.     That would be strategic.           To summarize, an
       18     example would be we believe the Russian troll
       19     farms, specifically the Internet Research Agency,
       20     is trying to make inroads in western Africa.
       21          Q.     Got you.     And then tactical information
       22     would be much more specific.            Here are specific --
       23     I think you said IP addresses, websites, social
       24     media accounts, that are actually -- the FBI has
       25     concluded are being operated by the Russians.                  Is



                                     LEXITAS LEGAL
     www.lexitaslegal.com          Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM
        Case 3:23-cv-03880-TLTDocument 204-1
                                Document  7-1 Filed
                                              Filed 03/03/23
                                                    08/09/23 Page
                                                             Page 32
                                                                  121ofof386
                                                                          139PageID #:
                                       10092
                                 ELVIS CHAN 11/29/2022
                                                                             Page 32


        1     that what tactical information is?
        2          A.     That is correct.
        3          Q.     So there is -- and so is there information
        4     sharing from the FBI to social media platforms
        5     providing that kind of specific tactical-level
        6     information?
        7          A.     Yes, there is.
        8          Q.     And I think your -- that then the timeline
        9     in your thesis goes on specifically with
       10     "information sharing and account takedowns."                 Does
       11     "account takedowns" refer to the social media
       12     platforms kind of taking down those social media
       13     accounts where the FBI identifies them as being
       14     operated by Russian actors?
       15                 MR. SUR:     Objection; lacks foundation.
       16                 THE WITNESS:      So the FBI shares
       17     information with the social media companies, no
       18     strings attached, so that the social media
       19     companies can protect their platforms as they deem
       20     appropriate.      And from what I have observed and
       21     what they have told me when we have provided them
       22     with high confidence of Russian selectors, that
       23     they have been able to discover fake Russian
       24     accounts and take them down.
       25          Q.     BY MR. SAUER:       So you don't control what



                                     LEXITAS LEGAL
     www.lexitaslegal.com          Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM
        Case 3:23-cv-03880-TLTDocument 204-1
                                Document  7-1 Filed
                                              Filed 03/03/23
                                                    08/09/23 Page
                                                             Page 33
                                                                  122ofof386
                                                                          139PageID #:
                                       10093
                                 ELVIS CHAN 11/29/2022
                                                                             Page 33


        1     they do, correct?
        2          A.     I do not control what they do.
        3          Q.     But you provide them with information that
        4     they don't have about the source of certain -- you
        5     called them selectors or social media accounts,
        6     correct?
        7          A.     Correct.
        8          Q.     And when you provide them with that
        9     information, they take it and they pull down those
       10     accounts, at least sometimes, fair to say?
       11                 MR. SUR:     Objection; lacks foundation.
       12                 THE WITNESS:      If I can clarify, what they
       13     do is they take the information that we share, they
       14     validate it through their own means.               And then if
       15     they determine that these are accounts being
       16     operated by Russian state-sponsored actors, then
       17     they have taken them down.
       18          Q.     BY MR. SAUER:       Oh, okay.      And then -- and
       19     that's, I -- I take it, part of the point of your
       20     sharing the information with them, right?                So that
       21     they can assess and evaluate and then ultimately,
       22     if they agree with your conclusion, take them down,
       23     correct?
       24          A.     Correct.
       25          Q.     In other words, the purpose of the



                                     LEXITAS LEGAL
     www.lexitaslegal.com          Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM
        Case 3:23-cv-03880-TLTDocument 204-1
                                Document  7-1 Filed
                                              Filed 03/03/23
                                                    08/09/23 Page
                                                             Page 34
                                                                  123ofof386
                                                                          139PageID #:
                                       10094
                                 ELVIS CHAN 11/29/2022
                                                                             Page 34


        1     information sharing on the FBI's side is to have
        2     the inauthentic Russian accounts taken down so that
        3     they are not influencing political discourse in the
        4     United States, correct?
        5                 MR. SUR:     Objection; lacks foundation,
        6     calls for speculation.
        7                 THE WITNESS:      I would characterize it as
        8     the FBI provides information to these companies so
        9     that they can protect their platforms as they deem
       10     appropriate, and they can take whatever actions
       11     they deem appropriate without any suggestion or
       12     interference from the FBI.
       13          Q.     BY MR. SAUER:       But my question's a little
       14     different, which is what -- my question is:                 Part
       15     of the purpose from the FBI's perspective is to
       16     give them the tools to assess and potentially take
       17     down accounts that the FBI has deemed to be
       18     inauthentic, correct?
       19                 MR. SUR:     Objection; lacks foundation,
       20     calls for speculation.
       21          Q.     BY MR. SAUER:       You may answer.
       22          A.     So I would say -- inauthentic -- so my
       23     focus is on Russian state-sponsored, -controlled
       24     accounts.     And so whether the companies take them
       25     down or not, it's their own choice.



                                     LEXITAS LEGAL
     www.lexitaslegal.com          Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM
        Case 3:23-cv-03880-TLTDocument 204-1
                                Document  7-1 Filed
                                              Filed 03/03/23
                                                    08/09/23 Page
                                                             Page 35
                                                                  124ofof386
                                                                          139PageID #:
                                       10095
                                 ELVIS CHAN 11/29/2022
                                                                             Page 35


        1          Q.     Right, but is it your purpose in giving
        2     them the information that the FBI believes or has
        3     concluded that they are Russian-operated accounts,
        4     is it your purpose to equip them to take them down
        5     if they end up agreeing with your assessment?
        6                 MR. SUR:     Objection; lacks foundation,
        7     calls for speculation.
        8                 THE WITNESS:      My purpose is to share the
        9     information with them so that they can protect
       10     their platforms as they deem appropriate.
       11          Q.     BY MR. SAUER:       And one way to protect
       12     their platforms is to take down these accounts,
       13     correct?
       14          A.     That is correct.
       15          Q.     And, in fact, that's what you say here in
       16     this sentence, right?         You say that, "the U.S.
       17     government and social media companies effectively
       18     impeded their influence campaigns...through
       19     information sharing and account takedowns," right?
       20          A.     I said that.      You can see -- I put
       21     "respectively" because it was the U.S. government,
       22     specifically the FBI, sharing information; and it
       23     was the social media companies doing the account
       24     takedowns.
       25          Q.     Right.    And the joint result of that was



                                     LEXITAS LEGAL
     www.lexitaslegal.com          Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM
        Case 3:23-cv-03880-TLTDocument 204-1
                                Document  7-1 Filed
                                              Filed 03/03/23
                                                    08/09/23 Page
                                                             Page 36
                                                                  125ofof386
                                                                          139PageID #:
                                       10096
                                 ELVIS CHAN 11/29/2022
                                                                             Page 36


        1     effectively impeding Russian influence campaigns,
        2     correct?
        3          A.     Correct.
        4          Q.     And -- and that's FITF's goal, right?               To
        5     effectively impede Russian influence campaigns,
        6     right?
        7                 MR. SUR:     Objection; lacks foundation,
        8     calls for speculation.
        9                 THE WITNESS:      Yeah, FITF -- my
       10     understanding of FITF's goal is to counter malign
       11     foreign-influence campaigns.
       12          Q.     BY MR. SAUER:       Does that include
       13     effectively impeding their influence campaigns, as
       14     you say in your thesis?
       15          A.     Yes.
       16          Q.     Does that include doing so through account
       17     takedowns by information sharing with social media
       18     platforms?
       19                 MR. SUR:     Objection; lacks foundation,
       20     mischaracterizes the testimony.
       21                 THE WITNESS:      Yeah, I believe you're
       22     mischaracterizing.        So like I said before, the FBI
       23     shares information with no strings attached and no
       24     expectations to -- for the companies.               And the
       25     companies, they can protect their own platforms.



                                     LEXITAS LEGAL
     www.lexitaslegal.com          Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM
        Case 3:23-cv-03880-TLTDocument 204-1
                                Document  7-1 Filed
                                              Filed 03/03/23
                                                    08/09/23 Page
                                                             Page 37
                                                                  126ofof386
                                                                          139PageID #:
                                       10097
                                 ELVIS CHAN 11/29/2022
                                                                             Page 37


        1                 MR. SAUER:      I am going to jump ahead to
        2     page little Roman xvii.
        3                 You can see there, Indraneel, it's going
        4     to be on Page 19 of the PDF.            See that?
        5                 MR. SUR:     Yep.    Yeah, we're on it.
        6          Q.     BY MR. SAUER:       Okay.    I believe this is a
        7     kind of summary section of your thesis.                You talk
        8     about in this paragraph here that begins with, "The
        9     U.S. government's response," that I have
       10     highlighted; do you see that?
       11          A.     Yes.
       12          Q.     And you say, "The U.S. government's
       13     response to the Russian influence campaign appeared
       14     more robust before the 2020 elections than in the
       15     2016 or 2018 elections," correct?
       16          A.     Correct.
       17          Q.     And then in the next sentence, you say,
       18     "The most important actions taken by the U.S.
       19     government may have been the information sharing
       20     with the social media companies to expose Russia's
       21     different operations and shut down its accounts,"
       22     correct?
       23          A.     Correct.
       24          Q.     So the information sharing was done, "To
       25     expose Russia's different operations and shut down



                                     LEXITAS LEGAL
     www.lexitaslegal.com          Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM
        Case 3:23-cv-03880-TLTDocument 204-1
                                Document  7-1 Filed
                                              Filed 03/03/23
                                                    08/09/23 Page
                                                             Page 38
                                                                  127ofof386
                                                                          139PageID #:
                                       10098
                                 ELVIS CHAN 11/29/2022
                                                                             Page 38


        1     its accounts," right?
        2          A.     Correct.
        3          Q.     And then "its" refers to Russia, right?
        4     So (as read) "to expose Russia's different
        5     operations and shut down Russia's accounts,"
        6     correct?
        7          A.     Correct.
        8          Q.     I am going to jump ahead a few pages to
        9     Page xxii.
       10                 MR. SAUER:      And, Indraneel, if you're
       11     following on your iPad, that's going to be Page 24
       12     of the PDF.
       13          Q.     There's a reference here in the
       14     acknowledgments where you refer to, "My colleagues
       15     back at headquarters who were in the trenches with
       16     me as we worked to protect the 2020 elections."
       17     See that?
       18          A.     Yes.
       19          Q.     Okay.    What are you talking about there
       20     where it says (as read), "in the trenches with you
       21     as you worked to protect the 2020 elections"?
       22          A.     I'm referring to my colleagues
       23     specifically at the Foreign Influence Task Force
       24     who participated in the meetings with me, who
       25     provided briefings to the companies and who



                                     LEXITAS LEGAL
     www.lexitaslegal.com          Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM
        Case 3:23-cv-03880-TLTDocument 204-1
                                Document  7-1 Filed
                                              Filed 03/03/23
                                                    08/09/23 Page
                                                             Page 39
                                                                  128ofof386
                                                                          139PageID #:
                                       10099
                                 ELVIS CHAN 11/29/2022
                                                                             Page 39


        1     coordinated the information sharing.
        2          Q.     And so you said you had meetings with the
        3     companies.      What meetings did you have?
        4          A.     We had -- let me be more clear.             I hosted
        5     meetings, bilateral meetings between each of the
        6     companies I mentioned and the Foreign Influence
        7     Task Force.
        8                 And we would also bring in field offices
        9     that had investigations related to malign foreign
       10     influence by state-sponsored actors.               We would also
       11     bring in field offices that had cyber
       12     investigations.       And when I mean cyber
       13     investigations, I mean state-sponsored actors that
       14     the FBI was investigating that we believe were
       15     capable of hack-and-dump campaigns that we observed
       16     in the 2016 election.
       17          Q.     Okay.    Let me unpack that a bit.
       18                 First of all, you said there were meetings
       19     with social media companies, between you and social
       20     media companies during the 2020 election cycle,
       21     correct?      Is that what we're talking about?
       22          A.     Yes, that is correct.
       23          Q.     Now, did those meetings also continue in
       24     the 2022 election cycle?
       25          A.     Yes.    They occur at roughly a quarterly



                                     LEXITAS LEGAL
     www.lexitaslegal.com          Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM
        Case 3:23-cv-03880-TLTDocument 204-1
                                Document  7-1 Filed
                                              Filed 03/03/23
                                                    08/09/23 Page
                                                             Page 40
                                                                  129ofof386
                                                                          139PageID #:
                                       10100
                                 ELVIS CHAN 11/29/2022
                                                                             Page 40


        1     cadence.
        2          Q.     And then do they -- does the cadence
        3     increase as elections get close?
        4          A.     Yes, they do.       And --
        5          Q.     Now, does that become monthly as the
        6     election nears and then weekly very close to the
        7     elections?
        8          A.     Ahead of the 2020 elections, that is
        9     correct.      Ahead of the 2022 elections, we moved it
       10     from quarterly to monthly, and then we just had one
       11     meeting a week ahead of the midterm elections.
       12          Q.     I'm sorry.      You said you had one weekly
       13     meeting ahead of the midterm elections?
       14          A.     Right.    We had one meeting a week before
       15     the midterm elections.
       16          Q.     Oh, and how long was the -- how long was
       17     that period of weekly meetings?              Was that, like,
       18     the month before or the three months before?
       19          A.     No.   Just the week before the election
       20     itself.
       21          Q.     Oh, okay.     There was one weekly meeting,
       22     right, the week before the election?
       23          A.     Yeah.    There was -- yeah.         So there was a
       24     monthly meeting in October; and then we had another
       25     meeting out of -- you know, out of cadence the week



                                     LEXITAS LEGAL
     www.lexitaslegal.com          Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM
        Case 3:23-cv-03880-TLTDocument 204-1
                                Document  7-1 Filed
                                              Filed 03/03/23
                                                    08/09/23 Page
                                                             Page 41
                                                                  130ofof386
                                                                          139PageID #:
                                       10101
                                 ELVIS CHAN 11/29/2022
                                                                             Page 41


        1     before the election, so the end of October.
        2          Q.     And then are these meetings going back to
        3     quarterly now that the election has passed?
        4          A.     That is correct.
        5          Q.     And so you're -- you'll have quarterly
        6     meetings with the social media companies going
        7     forward until the 2024 election cycle gets closer?
        8          A.     That is what I anticipate.
        9          Q.     And then as that election gets closer,
       10     then you'll move to monthly and eventually weekly a
       11     couple years from now, or in the fall of 2024; is
       12     that fair to say?
       13                 MR. SUR:     Objection; calls for
       14     speculation.
       15                 THE WITNESS:      That is what I anticipate.
       16          Q.     BY MR. SAUER:       Let me ask you this:         What
       17     social media companies are involved in these
       18     meetings?
       19                 MR. SUR:     Objection; vague.
       20                 THE WITNESS:      Currently or in 2020?
       21          Q.     BY MR. SAUER:       Well, let's start with
       22     2020.     I'd like to know both.         Let's start with
       23     2020, please.
       24          A.     So for the 2020 elections, we regularly
       25     met with Facebook, Google, Twitter, Yahoo!, Reddit



                                     LEXITAS LEGAL
     www.lexitaslegal.com          Phone: 1.800.280.3376            Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM    Document
         Case 3:23-cv-03880-TLT        204-1
                                 Document 7-1 Filed
                                               Filed03/03/23
                                                     08/09/23 Page
                                                               Page115
                                                                    131ofof386
                                                                            139PageID #:
                                       10175
                                  ELVIS CHAN 11/29/2022
                                                                             Page 115


         1    they take it very seriously.             And I would say that
         2    to the best of their ability, they are very careful
         3    before doing account takedowns.
         4          Q.    BY MR. SAUER:        I think that ties back into
         5    something you said earlier, which was in 2016 they
         6    really didn't do any account takedowns, fair to
         7    say?
         8          A.    That is correct.
         9          Q.    And it -- and I take it they may have had
       10     a -- I -- we may be speculating here, if you know.
       11     Do you know if that was because they have a
       12     financial incentive to leave those accounts up
       13     because it increases their ad revenues?
       14                 MR. SUR:      Objection; calls for
       15     speculation.
       16                 THE WITNESS:       I wouldn't even begin to
       17     speculate.       I don't know why.
       18           Q.    BY MR. SAUER:        Let me ask you this:          Why
       19     did things change, in your view?              I take it in 2018
       20     and 2020 there were many more account takedowns,
       21     right?
       22           A.    So there are two parts to your question.
       23     Why do I think they did it?             I can provide you with
       24     my personal opinion.
       25           Q.    Okay.



                                      LEXITAS LEGAL
      www.lexitaslegal.com          Phone: 1.800.280.3376             Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM    Document
         Case 3:23-cv-03880-TLT        204-1
                                 Document 7-1 Filed
                                               Filed03/03/23
                                                     08/09/23 Page
                                                               Page116
                                                                    132ofof386
                                                                            139PageID #:
                                       10176
                                  ELVIS CHAN 11/29/2022
                                                                             Page 116


         1          A.    My -- I believe pressure from Congress,
         2    specifically HPSCI and SSCI, may have had a part of
         3    it.
         4                And then also because I believe that they
         5    felt that this may have damaged their brands, but
         6    that is my personal opinion.
         7          Q.    Okay.     Well, let me ask you this:            When
         8    you say "pressure from Congress" and you mentioned
         9    HPSCI and SSCI, what are HPSCI and SSCI?                 Are
       10     those -- are those committees?
       11           A.    I'm sorry.       HPSCI is the -- the House
       12     Permanent Select Committee on Intelligence.                  And
       13     SSCI is the Senate Select Committee on
       14     Intelligence.
       15           Q.    Starting with the House Permanent Select
       16     Committee on Intelligence, what kind of pressure
       17     did they put on the social media platforms to, you
       18     know, engage more aggressively in account
       19     takedowns?
       20           A.    They compelled -- I don't know if they
       21     compelled.       They requested the CEOs for the
       22     companies that I mentioned, the -- to testify in
       23     front of their committee.
       24           Q.    And so they kind of brought in Mark
       25     Zuckerberg and Jack Dorsey and Sundar Pichai and



                                      LEXITAS LEGAL
      www.lexitaslegal.com          Phone: 1.800.280.3376             Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM    Document
         Case 3:23-cv-03880-TLT        204-1
                                 Document 7-1 Filed
                                               Filed03/03/23
                                                     08/09/23 Page
                                                               Page117
                                                                    133ofof386
                                                                            139PageID #:
                                       10177
                                  ELVIS CHAN 11/29/2022
                                                                             Page 117


         1    had them testify in front of Congress?
         2          A.    That is correct.
         3          Q.    And that happened -- that happened once or
         4    it happened multiple times?
         5          A.    To my knowledge, that happened more than
         6    once.
         7          Q.    And you believe that that -- that that
         8    kind of scrutiny and public pressure from Congress,
         9    in your view, motivated them to be more aggressive
       10     in the account takedowns?
       11                 MR. SUR:      Objection; lacks foundation,
       12     calls for speculation.
       13                 THE WITNESS:       That is just my personal
       14     opinion.
       15           Q.    BY MR. SAUER:        Yeah.    What is the basis
       16     for your opinion?         Has anyone at a social media
       17     platform ever made a comment to you that would
       18     reflect that -- that view?
       19           A.    I would say yes.         And the types of
       20     comments that I have received are that staffers
       21     from both of those committees have visited with
       22     those companies.         And while they would not reveal
       23     the types of discussions that they had with these
       24     House and Senate staffers, they would indicate that
       25     they had to prepare very thoroughly for these types



                                      LEXITAS LEGAL
      www.lexitaslegal.com          Phone: 1.800.280.3376             Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM    Document
         Case 3:23-cv-03880-TLT        204-1
                                 Document 7-1 Filed
                                               Filed03/03/23
                                                     08/09/23 Page
                                                               Page118
                                                                    134ofof386
                                                                            139PageID #:
                                       10178
                                  ELVIS CHAN 11/29/2022
                                                                             Page 118


         1    of meetings and that it was -- they indicated that
         2    it felt like a lot of pressure.
         3          Q.    "They" is representatives of social media
         4    platforms?
         5          A.    Yeah.     The social media companies that
         6    were visited.
         7          Q.    What -- what social media companies were
         8    visited by these HPSCI and SSCI staffers?
         9          A.    To my knowledge, it was the three
       10     companies that I've mentioned, which include
       11     Facebook, Google and Twitter.
       12           Q.    And Facebook, Google and -- Facebook,
       13     Google and Twitter employees all told you that they
       14     experienced these visits from congressional
       15     staffers as exercising a lot of pressure on them?
       16           A.    That was how I interpreted their comments.
       17           Q.    And then you infer from that that their
       18     changes in takedown policies resulted from that
       19     kind of pressure from Congress?
       20           A.    That is my personal opinion.
       21                 If I can add, I think some of -- some of
       22     what was discussed -- I'm interpreting what -- some
       23     of what was discussed.           But what the -- the
       24     staffers would come and talk to us either before or
       25     after they met with those three companies.                  And so



                                      LEXITAS LEGAL
      www.lexitaslegal.com          Phone: 1.800.280.3376             Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM    Document
         Case 3:23-cv-03880-TLT        204-1
                                 Document 7-1 Filed
                                               Filed03/03/23
                                                     08/09/23 Page
                                                               Page119
                                                                    135ofof386
                                                                            139PageID #:
                                       10179
                                  ELVIS CHAN 11/29/2022
                                                                             Page 119


         1    what was discussed with us was legislation that
         2    they were thinking about doing, and them asking for
         3    our opinion.
         4          Q.    Uh-huh.      When you say "legislation that
         5    they were thinking about doing," what do you mean?
         6          A.    Legislation that either HPSCI or SSCI was
         7    thinking about doing.
         8          Q.    So HPSCI and SSCI, these committees on
         9    intelligence, their staffers would be communicating
       10     to the social media platforms Facebook, Twitter and
       11     Google or YouTube that they intended to try and
       12     pass legislation?
       13           A.    So I inferred that because that is what
       14     they discussed with me personally.
       15           Q.    That is what they, the social media
       16     platforms, discussed with you, correct?
       17           A.    No, no.      That is what HPSCI and SSCI
       18     discussed with me when they were coming to these
       19     meetings.
       20           Q.    Oh, did you -- were you in on these
       21     meetings?      Like, were you included in the meetings
       22     with the congressional staffers?
       23           A.    So I and FBI San Francisco personnel would
       24     meet with the congressional staffers, typically
       25     before they met or after they met with the social



                                      LEXITAS LEGAL
      www.lexitaslegal.com          Phone: 1.800.280.3376             Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM    Document
         Case 3:23-cv-03880-TLT        204-1
                                 Document 7-1 Filed
                                               Filed03/03/23
                                                     08/09/23 Page
                                                               Page310
                                                                    136ofof386
                                                                            139PageID #:
                                       10370
                                  ELVIS CHAN 11/29/2022
                                                                             Page 310

         1
                        DEPOSITION OFFICER'S CERTIFICATE
         2   STATE OF CALIFORNIA    )

         3                                ) ss.

         4   COUNTY OF SAN FRANCISCO)

         5

         6               I, Balinda Dunlap, hereby certify:

         7               I am a duly qualified Certified Shorthand

         8   Reporter in the State of California, holder of

         9   Certificate Number CSR 10710 issued by the Certified Court

       10    Reporters' Board of California and which is in full

       11    force and effect.       (Fed. R. Civ. P. 28(a)(1)).

       12                I am authorized to administer oaths or

       13    affirmations pursuant to California Code of Civil

       14    Procedure, Section 2093(b) and prior to being examined,

       15    the witness was first duly sworn by me.            (Fed. R. Civ.

       16    P. 28(a)(a)).

       17                I am not a relative or employee or attorney or

       18    counsel of any of the parties, nor am I a relative or

       19    employee of such attorney or counsel, nor am I

       20    financially interested in this action.            (Fed. R. Civ. P.

       21    28).

       22                I am the deposition officer that

       23    stenographically recorded the testimony in the foregoing

       24    deposition and the foregoing transcript is a true record

       25                                    / / /




                                      LEXITAS LEGAL
      www.lexitaslegal.com          Phone: 1.800.280.3376             Fax: 314.644.1334
Case 3:22-cv-01213-TAD-KDM    Document
         Case 3:23-cv-03880-TLT        204-1
                                 Document 7-1 Filed
                                               Filed03/03/23
                                                     08/09/23 Page
                                                               Page311
                                                                    137ofof386
                                                                            139PageID #:
                                       10371
                                  ELVIS CHAN 11/29/2022
                                                                             Page 311


         1     of the testimony given by the witness.            (Fed. R. Civ. P.
         2     30(f)(1)).
         3                Before completion of the deposition, review of
         4     the transcript [      ] was [     ] was not requested.       If
         5     requested, any changes made by the deponent (and
         6     provided to the reporter) during the period allowed, are
         7     appended hereto.      (Fed. R. Civ. P. 30(e)).
         8

         9     Dated:
       10

       11                                   ______________________________
       12

       13

       14

       15

       16

       17

       18

       19

       20

       21

       22

       23

       24

       25



                                      LEXITAS LEGAL
      www.lexitaslegal.com          Phone: 1.800.280.3376             Fax: 314.644.1334
Case 3:23-cv-03880-TLT Document 7-1 Filed 08/09/23 Page 138 of 139




                       EXHIBIT P
                      Case 3:23-cv-03880-TLT Document 7-1 Filed 08/09/23 Page 139 of 139




To




                              I   ~   '\   II           \\   I(



     I.   i   \ Iii
 \




                                                             I'




                                                                               MOLA_0EFSPR00_00018336
